Case 06-01220-AJC .Doc 230-13 Filed 09/16/08 Page 1 of 45

 

 
   
  
  
    
   
 
 
 
 
    
   
    
  
  
  
  
  
  
  

Page 2793
IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
IN AND FOR MIAMI-DADE COUNTY, FLORIDA

CASE NO. 04-14009 CA 31

BANCO ESPIRITO SANTO INTERNATIONAL, LTD., ESB FINANCE,
LTD., AND BANCO ESPIRITO SANTO, S.A.,
Plaintiffs,
vs.
BDO SEIDMAN, LLP,
Defendant.

BDO SEIDMAN, LLP,

Third-Party Plaintiff,

vs.

VICTOR BALESTRA, BERNARD MOLLET, JOAQUIN GARNECHO,
PIERRE TREZZINI, EDUARDO ORLANSKY, HECTOR ORLANSKY, R.
PETER STANHAM, DOMINICK PARLAPTANO, CARLOS E. MENDEZ,
ARIADNA PUERTO, AND OTTO AMBROSIANT,

Third-Party Defendants.

PAGES 2793 - 2868

Volume 23

MORNING SESSION
Miami, Florida
Wednesday, May 2, 2007

| 10:00 a.m.

Before the Honorable Jose M. Rodriguez

Gizella "Gigi" Baan

 

Reported by:

 

 

 

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Case 06-01220-AJC Doc 230-13

Filed 09/16/08 Page 2 of 45
2 (Pages 2794 to 2797)

 

 

; Page 2794 Page 2796 §
1 APPEARANCES 1 On behalf of Third-Party Defendants Victor Balestra,
2 2 Bernard Mollet, and Joaquin Garnecho
3 On behalf of the Plaintiffs BANCO ESPIRITO SANTO 3
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Page 2795 Page 2797
1 On behalf of Defendant BDO Seidman, LLP: 1 CONTENTS
2 2
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5 Coral Gables, Florida 33134 5
6 (305) 461-5100 6 EXAMINATION OF SANDOR LENNER BY: PAGE:
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21 21 i
22 22 f
23 23 ‘
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25

 

 

 

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 3 of 45

 

 

13 (Pages 2838 to 2841)
Page 2838 Page 2840 §
1 If you look at the top here it says, the 1 Q. Now, Dr. Guy, we also talked about your
2 following are examples, not all inclusive, of situations 2 _ stool, and you went over different legs of the stool
3 that should cause a member to consider whether or not 3 with BDO. Do you remember that?
4 the client, employer, or other appropriate parties could 4 And the three legs of the stool are
5 _ view the relationship as impairing the member's 5 _ integrity, objectivity, and appearance of independence.
6 objectivity. 6 Did I get those right?
7 But then if you look at the bottom, it says 7 A. You did.
8 it again. The above examples are not intended to be all 8 Q. And am I right in understanding, Dr. Guy,
9 inclusive. 9 that integrity and objectivity, those are lack of
10 Is that what you meant when you referred to 10 independence in fact. And then appearance of
11 bookends in these examples? 11 independence, that's appearance to the general public,
12 A. Yes, that was sort of an obtuse reference. 12 the outside world?
13 Q. Can you see that? 13 A. That's correct.
14 A. Ican. I get a dose of how bad my 14 Q. Now, Dr. Guy, did -- when you were being
15 handwriting really is. 15 questioned by BDO, do you remember, did they -- well,
16 Q. And then you were asked a number of 16 let me do it this way.
17 questions by BDO about how did these examples involve a 4 17 MR. THOMAS: May I approach, Your Honor?
18 relationship with an audit client. 18 THE COURT: You may.
19 Do you remember those questions? 19 MR. THOMAS: (Complies.)
20 A. Yes. 20 I'm approaching with Plaintiffs' Exhibit 118
21 Q. Now, Dr. Guy, the situation here between BDO 21 in evidence.
22 and Bankest and BDO and StrataSys, the situation in this —22 BY MR.THOMAS:
23 case, it involves a relationship between BDO and an 23 Q. Dr. Guy, I know I only gave you a piece of
24 audit client; is that right? 24 this right here because it's a box. But what I'm
25 A. Absolutely. 25 showing you here is a piece of BDO's own audit manual.
Page 2839 Page 28419
1 MR. COLE: Objection. 1 A. Okay.
2 THE COURT: Overruled. 2 Q. And Dr. Guy, if you look at BDO's audit
3 THE WITNESS: The reason we're here is 3 manual and you turn with me over to 1.25, and that's BDO
4 because BDO attempted to audit Bankest while it has this 4 0029725, the next-to-the-last page.
5 relationship with StrataSys which causes this conflict 5 A. (Complies.) On Bates number 725?
6 of interest because of Mr. Parlapiano being at Bankest 6 Q. Exactly.
7 and StrataSys. That's a -- those are related parties. 7 A. Yeah. Okay.
8 And because Mr. Lenner, of course, BDO being 8 Q. And if you look at 1.25, BDO's own audit
9 at both places and have a business relationship and 9 manual says, no opinion or assurance may be expressed
10 because of the fact that StrataSys basically sells its 10 unless the accountant and the firm are independent both
11 JOUs or its accounts receivables to Bankest and gets 11 _ in fact and in appearance.
12 dollars back, that's what this is all about. 12 Now, is that what your opinion is too?
13 And it's about how can any man such as -- or 13 A. That's what my opinion is and has been, and fi
14 woman for that matter, but in this case man -- 14 I've stated it a number of times before this jury and in
15 Mr. Lenner, wear two hats. How can he determine that 15 __ this courtroom. Fi
16 these financial statements were fairly presented in 16 Q. And I know it was a lot of time but when BDO
17 accordance with generally-accepted accounting 17 was asking you questions, do you recall them asking you :
18 = principles? BDO can't. 18 questions about that second part, the appearance part? '
19 How could they determine these receivables 19 MR. COLE: Objection.
20 are real or fictitious? They can't. They don't have 20 Reserve a motion.
21 the requisite degree of objectivity. 21 THE COURT: Sustained.
22 This is a convoluted, intertwined, first 22 Rephrase the question.
23 class conflict of interest. And let me tell you, I 23 MR. THOMAS: I'll just move on, Judge.
24 believe that it is with all of my heart and soul, and 24 THE COURT: Ail right.
it's one of the worst conflicts I've ever seen. 25 BY MR. THOMAS:

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 4 of 45

17 (Pages 2854 to 2857)

 

 

Page 2854

   
    
  
  
   
  
  
  
    
   
  
   
    
   
   

Page 2856 &

 

1 MR. COLE: Could we, Your Honor? 1 is your first witness; is that correct?
2 With respect to the first item, there is no 2 MR. COLE: Yes.
3 doorto open. You're not allowed to shift the burden to 3 MS. BITAR: That is correct, Your Honor.
4 me to present any evidence. And it is fair, it is fair 4 THE COURT: What I'm going to do is bring
5 cross-examination to raise with the -- with any expert 5 the jury out, let you question Mr. Lenner, and you can
6 witness the information that he or she received from 6 ask questions for 25 minutes. When you want to get into
7 counsel and what was the basis for his or her opinion. 7 substantive stuff --
8 It is improper -- there is no door to open 8 MS. BITAR: Take a break.
9 from that questioning to suggest that we had to then 9 THE COURT: -- let me know.
10 provide the expert with evidence and it was our burden 10 MS. BITAR: Fine, Your Honor. Thank you.
11 to show the expert the evidence. 1i THE COURT: Bring them out.
12 That's the crux of the issue. There's no 12 One more thing since you are going to file a
13 door to open. And by doing that, the burden was 13 motion for directed verdict. I'm going to reserve. I
14 suggested to the jury as being shifted to BDO in this 14 ~— don't want any party waiving. I don't want either party
15 phase of the trial, and that was improper. The rest of 15 waiving for directed verdict. So I'm going to reserve
16 Mr. Thomas's arguments will be addressed. 16 on both motions.
17 THE COURT: Then you'll file your motion and [17 MR. THOMAS: Thank you for that courtesy,
18 then I'll rule. 18 Your Honor.
19 MR. COLE: Okay. Judge, we did distribute 19 THE COURT: Bring them in.
20 the -- I think we did -- we did distribute the motion 20 THE BAILIFF: (Complies.)
21 _ for directed verdict. Obviously -- 21 All rise for the jury.
22 THE COURT: How many issues are in here or 22 (Thereupon, the jury was brought into the
23 _ is there just one? 23 courtroom.)
24 MR. COLE: I'm sorry? There's attachments 24 THE COURT: All right. You may be seated.
25 _ but it’s really just -- it's really two issues. We move 25 Ms. Bitar, defendant may call your first
Page 2855 Page 2857
1 on the issue of 552 with respect to ESB Finance and 552 1 witness.
2 with respect to Banco Espirito Santo on the $30 million 2 MS. BITAR: Thank you, Your Honor.
3 line. , 3 BDO Seidman calls Sandor Lenner.
4 THE COURT: You want to — have you read it, 4 THE COURT: Mr. Lenner, come forward.
5 Mr. Thomas? You're not going to be able to respond or 5 THE WITNESS: (Complies.)
6 give your oral response. I don't want to cut you off if 6 THE COURT: Raise your right hand.
7 you want to respond to any argument you may have on -- 7 Thereupon,
8 MR. THOMAS: I don't know what to say 8 SANDOR LENNER,
9 because I haven't even read it yet. 9 having been duly sworn by the clerk of the Court,
10 THE COURT: What I'm going to do is reserve 10 _ testified as follows:
11 on your motion for directed verdict and I'll give you an 11 THE COURT: Thank you.
12 opportunity to argue that when Mr. Thomas reads it, so 12 You may be seated.
13. we'll go back and you can respond to whatever (inaud.). 13 MS. BITAR: May I inquire, Your Honor?
14 Now, on your motion for directed verdict, do 14 THE COURT: You may.
15 you want to make it now orally or you want to put it in 15 MS. BITAR: Good morning, Mr. Lenner.
16 writing and do it at the same time? It's your choice. 16 Good morning, ladies and gentlemen of the
17 MR. THOMAS: Id like to put in writing if 17 ~~ jury.
18 ~~ wecould. 18 THE WITNESS: Good morning, Ms. Bitar.
19 THE COURT: Then we'll do the same thing. 19 MS. BITAR: I'll give you a moment to outfit
20 Make sure the defense gets copies. But don't give it to 20 your microphone.
21 meat the time when I'm going to hear it. Give it to me 21 THE WITNESS: Testing.
22 in advance. 22 MS. BITAR: Good. :
23 MR. THOMAS: That's what I assumed. Thank 23 THE WITNESS: Yes. i
24 you, Your Honor. 24 DIRECT EXAMINATION
25 25 2

 
 

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THE COURT: Allright. I assume Mr. Lenner

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BY MS. BITAR:

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 5 of 45
18 (Pages 2858 to 2861)

  

Page 2858
Q. Mr. Lenner, when you testified on the

1
2 plaintiffs’ direct case, I asked you some questions
3 about your professional experience.
4 Let's talk a little bit about your
5 background. Where do you presently reside, sir?
6 A. Miami, Florida.
7 Q. And how long have you lived in Florida?
8 A. About 27 years.
9 Q. Are you married, sir?
10 A. Yes, I am.
11 Q. Do you have any children?
12 A. Yes. [have a 19-year-old daughter, and I
13 havea 17-year-old daughter.
14 Q. And can you please describe your educational
15 background.
16 A. Sure, [have a bachelors of accounting from

Herbert H. Lehman College of The City University of New
York. That's a public school. I also have a graduate
degree, that's a masters in finance from Bernard M.
Baruch College. That's also part of The City University
of New York.

Are you from New York, sir?

23 A. Yes.
24 Q. What year did you receive your CPA license?
25 A. 1980.

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Page 2860

    
    

clearance. The fact that I was appointed by a
bankruptcy Judge to act as an examiner for one matter.

Q. Now, could you briefly describe your
employment history since graduating from college?

A. Iworked 15 years for a large regional firm
in New York City that also had an office in Miami
Florida called Eisner & Lubin, then two years I was on
my own, and then for 17 years I've been with BDO
Seidman. That's approximately 34 years of experience.

Q. And are you presently at BDO, sir?

A. Yes.

Q. And what is your title at BDO?

A. Iam a partner.

Q. And where are you a partner?

A. Inthe Miami office in the assurance
department.

Q. And what does assurance mean, sir?

A. It means audits.

Q. So you're a partner in the Miami office
doing audits; is that correct?

A. Yes.

Q. Do you have any other titles or
responsibilities?

A. No.

MS. BITAR: Your Honor, per your

         
     
     
         
     
       
     
       
       
     
      

 

 

Page 2859

1 Q. And since you received that license, have
2 you had any additional training with respect to
3 performing services as a certified public accountant?
4 A. Yes.
5 Q. What additional training have you had?
6 A. Every two years we are required to take
7 80 credits of continuing professional education courses.
8 Q. And what does that continuing professional
9 education require?

A. It requires 80 credits of various subjects,
primarily accounting and auditing.

Q. And Mr. Lenner, in connection with your CPA
license, do you have any professional affiliations?

A. Yes.

Q. What are they, sir?

A. Yama member of the American Institute of
CPAs. I am also a member of the Florida Institute of
Certified Public Accountants.

19 Q. And when you say the American Institute of
20 CPAs, is that commonly known as the AICPA?

21 A. Yes.

22 Q. Mr. Lenner, have you ever assisted the

United States government as a panel trustee as has

Mr. Feltman?
A. Yes. I've gone through the security

   

   

 

  

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Page 2861 ;

      
    

instruction, at this time I'm done with the preliminary
information.
THE COURT: You can ask more questions.
MS. BITAR: Okay, Judge.
BY MS. BITAR:

Q. Mr. Lenner, let's talk a little bit about
auditing.

Did you believe at the time of the Bankest
audits that you were qualified to conduct them?

A. Yes.

Q. At the time of the Bankest audits, did you
understand that the limits of an audit consisted of
selective testing?

A. Yes.

Q. Does an audit require testing every aspect
of a company?

A. No, it does not. It's very clear. It
involves selective testing of certain accounts and
certain transactions in the company.

Q. Does an audit guarantee an auditor will
detect fraud?

A. No.

Q. Based on your understanding, did you
guarantee that at Bankest you would detect fraud?
A. No.

         
     
     
     
     
       
         
     
     
       
     
     
   

 

    

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 6 of 45

19 (Pages 2862 to 2865

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Page 2862 Page 2864

1 Q. Whose responsibility is it to detect fraud, 1 A. They are written down in the literature

2 Mr. Lenner? 2 that's promulgated or written by the American Institute

3 MR. THOMAS: Objection, Your Honor. 3 of Certified Public Accountants. Sometimes they come

4 THE COURT: Sustained. 4 through what's called statement on auditing standards

5 Rephrase the question. 5 called SASes. That's where they're written.

6 BY MS. BITAR: 6 Q. And what is generally-accepted auditing

7 Q. Mr. Lenner, are you familiar with the audit 7 standards generally?

8 literature that discusses the responsibilities to detect 8 A. That's called GAAS. And it's called,

9 fraud in an organization? 9 generally, G-A-A-S, which stands for generally-accepted
10 A. Yes. 10 auditing standards. Those are the rules that CPAs are
11 Q. And is this the literature you rely on when | 11 required to follow during the performance and the
12 conducting your audits? 12 conduct of the audit. It's basically the rules that you
13 A. Yes. 13 have to follow.

14 Q. Mr. Lenner, whose responsibility is it to 14 Q. Now, Mr. Lenner, we've heard some testimony
15 detect fraud? 15 about the BDO audit manual. Have you heard that
16 MR. THOMAS: Objection, Your Honor. That 16 testimony as you sat here throughout this trial?
17 establishes my objection. 701. 17 A. Yes.
18 THE COURT: I'm going to sustain your 18 Q. What is the BDO assurance manual?
19 objection. 19 A. It's a resource that's used by the
20 Rephrase your question. 20 professional staff. And it's a compendium of GAAS and
‘21 BY MS. BITAR: 21 GAAP and some of the firm's recommendations on
22 Q. Mr. Lenner, based on your understanding of §22 conducting an audit.
23 _ the duties imposed upon you as a certified public 23 Q. And Mr. Lenner, in conducting your audits of
24 accountant, is it your obligation to detect fraud? 24  Bankest -- let me ask you a preliminary question.
25 MR. THOMAS: Objection, Your Honor. There's §25 Have you reviewed the manual?
Page 2863 Page 2865[

1 amotion in limine. 1 A. Yes.

2 THE COURT: Overruled. 2 Q. Are you familiar with the manual?

3 THE WITNESS: No. 3 A. Yes,

4 BY MS. BITAR: 4 Q. And did you review the manual when

5 Q. Whose responsibility is it based on the 5 conducting the audits of Bankest?

6 _ literature you use to perform your audits? 6 A. Yes.

7 MR. THOMAS: Objection, Your Honor. 7 Q. And where in the pecking order of GAAS does

8 THE COURT: Overruled. 8 this assurance manual apply?

9 THE WITNESS: According to SAS-82 -- 9 A. It's really a higher standard of GAAS. Most
10 THE COURT: Sustained. 10 national firms like BDO recognize GAAS. They put that
11 BYMS. BITAR: 11 into their manual but they also add some additional
12 Q. Without getting into the substance of the 12 considerations that they want the audit team to consider
13 literature, whose responsibility -- 13. when performing the audit.

14 A. Management's responsibility to detect fraud. 14 Q. So when reviewing the internal standards,
15 Q. Let's talk a little bit about professional 15 are you looking at standards higher than those set forth
16 standards you're required to follow. 16 under GAAS?
17 When you conducted the Bankest audits, did 17 A. Yes.
18 you understand that you had to do your work in 18 Q. So based on that, Mr. Lenner, is it fair to
13 accordance with professional standards? 19 — say that you cannot follow your own internal standards
20 A. Yes. 20 and still do an audit in accordance with
21 Q. And are those standards commonly known as 21 generally-accepted auditing standards?
22 generally-accepted auditing standards? 22 A. Yes.
23 A. Yes. 23 Q. And that's the standard that's at work in
24 Q. And where are those standards written down, 24 this case, correct?
sir? 25 MR. THOMAS: Objection, Your Honor, calls

    
   
   
   
   
  
   
  
  
  
  
  
  
  
  
   
  
  

   

 
 
Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 7 of 45
20 (Pages 2866 to 2868)

 

 

    

 

 

 

Page 2866 Page 2868 i

1 for a legal conclusion. 1 CERTIFICATE OF COURT REPORTER f

2 THE COURT: Sustained. 2 i

3 MS. BITAR: Your Honor, at this time I'm -- 3 I, GIZELLA BAAN, court reporter, before whom :

4 THE COURT: You want to break? 4 the foregoing statement was taken, do hereby certify

5 MS. BITAR: I'm ready to continue but I'm 5 _ that the statement made was taken by me stenographically

6 — going to show an exhibit, so this is an appropriate 6 at the time and place mentioned in the caption hereof

7 place -- 7 and thereafter transcribed by me to the best of my

8 THE COURT: I was going to stop you. 8 ability; that said transcript is a true record of the

9 MS. BITAR: I thought so. 9 statement given; that I am neither counsel or, related
10 THE COURT: Ladies and gentlemen, we're #10 to, nor employed by any of the parties to the action in
11 going to go to lunch. Maybe not. But we're leaving the [[11 which these proceedings were taken; and further, that I
12 courtroom. 12 am nota relative or employee of any party hereto, nor
13 You're not to discuss the case amongst 13 financially or otherwise interested in the outcome of
14 yourselves or anyone else. You are not to allow anyone §14 this action.

15 to discuss the case with you. You're not to forma 15

16 fixed or definite opinion about the case until you've 16

17 heard all the evidence, the argument by the lawyers, and §/17

18 the instructions on the law by me. 18

19 You're not to read, hear, or see any reports 419 GIZELLA BAAN

20 about this case in the media. And you're to ignore the 20 Court Reporter and Notary Public 5

21 lawyers’ presence outside this courtroom and the witness $21 in and for the State of Florida f

22 as well as they're to ignore yours. 22 4

23 All right. Have a good lunch. 1:30. 23

24 THE BAILIFF: All rise for the jury. 24 f

25 (Thereupon, the jury was escorted out of the 25 !
Page 2867 :

1 courtroom.)

2 THE COURT: Mr. Lenner, you're not to

3 discuss the testimony you've given or that you will give

4 with anyone, that includes all the lawyers. Have a good

5 Junch.

6 Have a good lunch.

7 (Whereupon, at 12:00 p.m., a luncheon recess

8 was taken.)

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Case 06-01220-AJC Doc 230-13. Filed 09/16/08 Page 8 of 45

 

Page 2869 Ff

IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
IN AND FOR MIAMI-DADE COUNTY, FLORIDA

CASE NO. 04-14009 CA 31

:

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BANCO ESPIRITO SANTO INTERNATIONAL, LTD., ESB FINANCE,
LTD., AND BANCO ESPIRITO SANTO, S.A., :
Plaintiffs, ;

vs.

BDO SEIDMAN, LLP, :
Defendant.
etcetera tate x :
BDO SEIDMAN, LLP, :
Third-Party Plaintiff,

vs. :
VICTOR BALESTRA, BERNARD MOLLET, JOAQUIN GARNECHO, /
PIERRE TREZZINI, EDUARDO ORLANSKY, HECTOR ORLANSKY, R. :
PETER STANHAM, DOMINICK PARLAPIANO, CARLOS E. MENDEZ, :
ARIADNA PUERTO, AND OTTO AMBROSIANI,
Third-Party Defendants. :
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PAGES 2869 - 3019 ;

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Volume 24

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AFTERNOON SESSION :

Miami, Florida :

Wednesday, May 2, 2007 :

1:50 p.m.

Before the Honorable Jose M. Rodriguez

Reported by: Gizella "Gigi" Baan

PASE TEPELS OY 2 gc EP EAE ag AEE BELSON TRAST ra REN BELA RTI OEM SL EAE SAE TED BE LEG LCR RSE REECE AN BN SET EV BALE Oa AA SLR SOCAN 7 DUS ARERR SEL SENATE DN Sl ME DRES, ER RM EDIE En RES DD SEER Sy

 

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 9 of 45

2 (Pages 2870 to 2873)

 

     
   
   
 
   

 

Page 2870 Page 2872 9
1 APPEARANCES 1 On behalf of Third-Party Defendants Victor Balestra,
2 2 Bernard Mollet, and Joaquin Garnecho
3 On behalf of the Plaintiffs BANCO ESPIRITO SANTO 3 ,
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Page 2871 Page 2873
1 On behalf of Defendant BDO Seidman, LLP: 1 CONTENTS
2 2
3 ALY. AREZ, ARMAS & BORRON 3 EXAMINATION OF SANDOR LENNER BY: PAGE:
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18 Miami, Florida 33131 18
19 BY: Mark Schnapp, Esquire 19
20 Nikki Simon, Esquire 20
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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 10 of 45

3 (Pages 2874 to 2877)

 

Page 2874 Page 2876
1 PROCEEDINGS 1 the other one?
2 MR. THOMAS: I have an issue to raise before 2 THE COURT: Oh, you have another one?
3 you get Mr. Lenner. 3 MR. THOMAS: No. The first point which is
4 THE COURT: Yes. 4 ~ that the rule that Espirito Santo had to follow was that
5 MR. THOMAS: Your Honor, Ms. Bitar’s 5 — we wouldn't ask the question.
6 questioning concerning the professional standards that 6 THE COURT: Correct.
7. Mr. Lenner was to follow, Espirito Santo submits 7 MR. THOMAS: Ms. Bitar asked the question
8 violated your motion in limine. In fact, your motion in 8 after establishing with Your Honor that you couldn't ask
9  limine you granted was that there would be no lay 9 the question. That's a direct violation of your order.
10 opinion testimony on the standards of GAAS and GAAP. [10 And we ask that the same rules be applied to BDO and be
11 But you actually went further. 11 applied to Espirito Santo.
12 THE COURT: I did? 12 THE COURT: And that's why I'm saying it
13 MR. THOMAS: You did. 13 depends how the question is posed. Obviously, if the
14 THE COURT: Did I put it in writing? 14 question is posed, Ms. Bitar, concerning his opinion as
15 MR. THOMAS: You said it on the record 15 to the standards as it applies to --
16 which was, Your Honor, that you said you granted the 16 MS. BITAR: I'm sorry, the standards --
17 motion. And then Ms. Bitar said, "But one thing I want 17 THE COURT: The standards as they apply to
18  toclarify if I may. Our concern is that the questions 18 _ the profession, that question should not be asked.
19 will be asked. We understand they'll be sustained," 19 MS. BITAR: I understand.
20 meaning the objections would be sustained, "we don't 20 THE COURT: And that question should not be
21 want the questions asked. 21 asked.
22 "The Court: Obviously, they won't be asked. 22 MR. THOMAS: It was asked and you sustained
23 "Mr. Thomas: We agree to it.” 23 my objection to it, which J agree with you was
24 And then you instructed me, "Hopefully, they 24 appropriate to sustain the objection. My point is the
25 won't be asked, right, Mr. Thomas?" And I replied, 25 rule--
Page 2875 Page 2877
1 = ="Yes, Your Honor.” 1 THE COURT: That shouldn't be asked.
2 Your order didn't just apply to Espirito 2 MR. THOMAS: -- the rule that we had to
3 Santo. It applied to BDO Seidman as well. 3 apply, it was in violation of your order to ask the
4 THE COURT: My order applied to all parties 4 question. And it wasn't an accident because their
5  onboth sides. Now I understand your concern, 5 questions are written out.
6 Mr. Thomas. And I know and I have that -- when you're 6 THE COURT: Now I'm telling you — I'll let
7 making the objections I cognizantly listened to the 7 you respond.
8 question. 8 MS. BITAR: Thank you, Your Honor. May I?
9 The problem I have is I will not allow 9 THE COURT: But not to ask questions
10 Mr. Lenner to opine on standards that applies to the 10 pertaining to that.
11 profession to all the counts because that would be 11 MS. BITAR: I understand, Your Honor, but I
12 expert testimony. For example, Mr. Feltman and Dr.Guy. §12 want to make clear what I understood the ruling was.
13 But it's very difficult -- it depends on the 13 The motion in limine that Mr. Thomas is referring to is
14 question. If the question pertains to how he applied 14  BDO's motion in limine and its request was very
15 the standard, BDO applied the standard in this case, 15 specific. Its request related to -- so that they would
16 that is not an expert opinion. Because you can't 16 not be able to present someone like Lew Freeman or Ramon
17 separate that, at least I can't separate it in my mind. 17 Rivera, who are the two people I think that we cited in
18 As long as the questions are such that how 18 that motion in limine, to get up on the stand and be
19 _ they apply the standards, what is the standard and how 19 — asked questions such as, now that you have ten more
20 they apply it. What they believe as it is applying to 20 years of experience, do you still think it's a GAAS
21 them in this case as they applied to the audits. 21 audit, Mr. Rivera. And that's what that motion was
22 It's the difference. If you don't agree 22 catered to.
23 with that, if you have a question about that, I will 23 Now, Your Honor, the last time we were here
24 hear your response. 24 we addressed this very specific issue about where
25 MR. THOMAS: I do but I could first address 25 Mr. Lenner, the fact witness, the person whose conduct

 

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 11 of 45

Page 2878

is at issue and the issue of whether or not he followed
those standards is at issue, if he was permitted to ask

- if I was allowed to ask him what rules he looked at

and how had he applied them in connection with his work.
And that is what I will do, Your Honor.

THE COURT: That's exactly what I'm
referring to. But I'm not going to allow you to ask
questions such as what is your opinion -- which you
started -- and I sustained -- I overruled it first and
then I think it was him. I can't remember right now.
Somebody mentioned --

MR. THOMAS: It was.

THE COURT: He went to the standards and
then I sustained the objection and I stopped him from
doing that.

So I don't know how more clear I can be.

MR. THOMAS: Well, Your Honor, the motion in
limine stated that to prevent -- preclude opinion
testimony from lay witnesses concerning whether BDO
conducted audits via Bankest's financial statements in
accordance with GAAP. It didn't say our witnesses,
their witnesses, and you granted the order. The issue
came up with Mr. Rivera, as you may recall. I raised it
and you said no BDO, so it was clarified then that this
applied. You can't ask those questions. You can say

Page 2879

where he signed it and you so made clear that it applied
to BDO as well us. This is no mystery.

THE COURT: That's what I'm telling you.
That's not what I'm going to allow. Now, if it
applies -- I agree with Mr. Thomas. If you're going to
ask for expert opinion concerning the profession, I'm
not going to allow you to ask the question because --
but if you're not, if you say that you're going to do it
the way you just said it, it's a different issue.

You're allowed to ask those questions.

MS. BITAR: Your Honor, I understand the
distinction. Again, the purpose of that motion in
limine was to preclude people who were not parties to be
testifying.

THE COURT: Lunderstand. But if you're
going to keep repeatedly asking about it and Mr. Thomas
is going to be repeatedly objecting to it and I will be
repeatedly sustaining them, then what's the point?

MS. BITAR: I agree, your Honor, but just to
be clear, I did not ask Mr. Lenner about any specific
standard. I asked him who had responsibility to detect
fraud and I think that was the question.

MR. THOMAS: I don't know of any questions,
but that's also improper.

Your Honor, just so we're clear, then BDO

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4 (Pages 2878 to 2881)

Page 2880

can ask Mr. Lenner what he did on these audits, but they
can't ask him whether what he did on these audits
complied with GAAS because that would be --

THE COURT: That's correct.

MS. BITAR: Your Honor, may I ask a
question? Am I not permitted to ask my own witness
whose integrity and work is being called into question
if he believes he did his job and does he believe he did
his job in conformance with the standards he is
obligated to follow? I'm not allowed to ask my witness
that question?

THE COURT: Hold on.

MS. BITAR: For example, when a physician
takes the stand in a medical malpractice case, he's
permitted to say he met the standard of care. We've now
heard three weeks of testimony about how Mr. Lenner
failed to meet the standard of care. I think we should
be entitled to rebut that on our direct examination.

THE COURT: I believe this came up in the
last trial.

MS. BITAR: It did, and we have it right
here, Your Honor.

MS. SIMON: And I have copies for
plaintiffs.

THE COURT: He can certainly ask him whether

Page 2881

he followed the rules, and he can say yes or something
to that effect. Of course he can. And that will be my
ruling. But certainly you can ask your witness whether
he followed the rules. You can ask a physician that,
you can ask Mr. Lenner that, you can whoever has
conducted the audits did you apply the rules -- if you
applied the rules in his audit.

MS. BITAR: Thank you, Your Honor. That was
the clarification I needed.

THE COURT: Now, it depends on how you ask
the question. The question as you posed it, that is a
very loaded question.

MS. BITAR: Your Honor, would you like the
transcript from the prior hearing where you addressed
this issue?

THE COURT: That would be a good idea to
refresh my recollection.

MS. BITAR: I'm handing up the trial
transcript when this was raised by Mr. Dorta, page 7 on
February 22nd.

MR. THOMAS: Your Honor, you can do both,
right?

THE COURT: Yes, I can.

MR. THOMAS: As Mr. Lombana has just
explained to me the doctor context, he can ask whether

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 12 of 45

5 (Pages 2882 to 2885)

 

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Page 2882

he did it right but then he can't start bolstering his
testimony by saying he complied with this rule and that
rule.

And from the last trial, I'm looking at page
13 where it was asked, is this one of the standards you
were considering when you performed your auditing steps
and I objected and you sustained it, that being the
idea.

MS. BITAR: Actually, Your Honor, I think
it's a little bit different than that and this is how I
understood Your Honor's ruling. I can ask the witness
the question, do you believe you followed the standards
of your profession in doing your job. And you'd let
that answer stand. You'd also allow me to ask the
witness if during the course of his audits he considered
a specific part of the literature, for example --

MR. LOMBANA: No.

MS. BITAR: -- confirmations: And if he
considered in conducting his work.

MR. LOMBANA: No.

MS. BITAR: And he was allowed to testify to
that but he was not allowed to testify as to the way in
which he considered it was appropriate. And that's
where the expert comes in to opine.

MR. THOMAS: He's a lay witness and he can't

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Page 2884 i
Honor, I apologize for it being smaller text but it
actually has all the pages.
THE COURT: (Reading).
That was my ruling right now.

I quote from the transcript, "I didn't say
you didn't read it. I'm not saying you shouldn't. I'm
just saying that you can't opine as to why it is -- as
to why it is -- as to why it was done that way. It's
done that way because the rules provide. You can tell
what the rules are and you can say I followed the
rules.”

I believe that's what I said.

MR. THOMAS: Your Honor, may I?

THE COURT: Yes.

MR. THOMAS: The motion that you granted
says that the Court should preclude opinion testimony
from lay witnesses concerning whether BDO conducted
audits of Bankest financial statements in accordance
with GAAP and GAAS and you entered that order. And one
of their auditors was on the stand, Ramon Rivera, and
Espirito Santo was precluded from asking him whether or
not their audits followed the rules and he believed they
complied with the rules.

Now, they've chosen to put a different
auditor on the stand and BDO is being permitted to ask

 

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Page 2883

opine whether or not he met the rules or didn't meet the
rules.

MS. BITAR: I'm not going to ask him on a
specific rule if he met it or not but I can ask him if
he believes he did his job and conducted the audits in
accordance with the professional standard.

MR. THOMAS: That's exactly what your motion
in limine precluded and precluded Espirito Santo from
doing and it's not fair to let BDO do it and that was
one with one of their own auditors. If Espirito Santo
can't do it, they shouldn't be allowed to do it.

MS. BITAR: It's very clear that that motion
related to two specific witnesses. That motion in
limine discussed those witnesses and it was because of
the transgressions of Mr. Freeman and Mr. Rivera
providing expert testimony.

This is a very different circumstance.

MR. THOMAS: Your Honor, in your transcript,
do you have pages --

THE COURT: I'm on the last page.

MR. THOMAS: But do you have pages 12, 14?

THE COURT: Ihave 13, 15 -- no, I don't.

MR. THOMAS: You have every other page?

THE COURT: I have every other page.

MR. THOMAS: So do we. Here is -- Your

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Page 2885

the auditor they choose the question you precluded
Espirito Santo from asking another one of their
auditors. That's unfair. They don't get to pick and
choose which auditors they ask if we follow the rules.

Now they chose to bring this motion in
limine. We didn't. So once they brought the motion in
limine and said we can't ask lay witnesses whether or
not you followed the rules and complied --

THE COURT: Can I see the transcript from
that from, Mr. Rivera?

MR. THOMAS: From the motion in limine?

THE COURT: No, no.

MR. LOMBANA: Mr. Rivera's testimony.

MS. BITAR: From the initial trial?

MR. THOMAS: We never asked the question,
Your Honor, because of your motion in limine. We never
asked that question because -- not only did -- not only :
did I not -- did I ask the question and you sustained i
it, you instructed me I couldn't even ask the question. i
So I never asked that question of Mr. Rivera, one of
their auditors.

Now what -- they brought this motion. This
chose to say lay witnesses can't give opinions.
Mr. Lenner is a lay witness. They can't say, okay, now
Espirito Santo, here is one of our auditors. You can't

  
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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 13 of 45

Page 2886

ask him that question, but we're going to choose a
different auditor and we're going to put him on the

stand and we're going to ask him that question so he'll
give the right answer. We know Mr. Lenner will give the
right answer because we spent two days preparing him.
But Mr. Rivera, we don't get to prepare him so you don't
get to ask him that question.

You can't stop us and then allow them to
pick and choose which auditor, Your Honor. Your order
precludes it.

MS. BITAR: May I be heard, Your Honor?

It's very different.

Mr. Rivera's own signature at the time these
audits were done indicated that he believed that work
was done in accordance with GAAS. The questions that
the plaintiffs posed in the first trial to him were, now
ten years later with the benefit of all kinds of
experience and hindsight, what do you think? Do you
still that's a GAAS audit?

The question was asked and the objection was
sustained. We wanted to make sure that question wasn't
asked again because we should not be in a position to
object to it.

Mr. Freeman had nothing to do with these
audits. He has no personal knowledge of any of this.

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6 (Pages 2886 to 2889)

   
 
 
   
  
  
  
  
  
  
  
  
  
   
  
  

Page 2888 B

and what you granted in court talks about lay witnesses
in both places and you've already affirmed in this trial
prior to today that your order applies to both sides.
And that was the order you entered and you went so far
as to preclude me from even asking any question in this
trial. That was their choice. But it's unfair now for
them to pick and choose which auditors they get to ask.

THE COURT: Okay. Anything else, Ms. Bitar?

MS. BITAR: Again, Your Honor, I just refer
to the motion and the statement of fact that
specifically states that the plaintiffs should not be
allowed to ask Mr. Rivera or Mr. Freeman. And the title
is not what's operative. It's what the report, the
requested --

THE COURT: Regardless of what my (inaud.),
in essence, Mr. Lenner is a fact witness. He's not an
expert. He's not opining in this case. And that is an
opinion. And J agree with Mr. Thomas in that.respect.

It's the same -- I agree with Mr. Thomas
that it would be unfair and that’s my business. My
business is to be fair.

MS. BITAR: May I ask a question?

THE COURT: Yes.

MS. BITAR: May I ask the witness the
following: You're an auditor. You rely on certain

 

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Page 2887

This motion in limine was directed to both of them and
that's what's referenced throughout the motion in
limine. Mr. Lenner is the fact witness that did the
work himself. It would be extraordinarily unfair to not
allow me to ask him if he thinks he did his job when for
the last two weeks the plaintiffs’ focus from their
experts was that he didn't.

And in fact, if I'm not permitted to ask
that question it leads to the conclusion that somehow
we're afraid to ask that kind of a question of the man
who -- who did the work. And I think it's an extreme --
it's very -- the circumstances can be easily
distinguished here, Judge.

MR. THOMAS: Do you need to hear further
from me?

THE COURT: Not yet.

MS. BITAR: And, Your Honor, if I may be
heard, I'm realizing as I read this motion the request
was that the plaintiffs should be precluded from asking
the lay witnesses, Mr. Rivera or Mr. Freeman, whether
BDO performed the audit in accordance with GAAS. That
was what we requested.

MR. THOMAS: That's just plain incorrect,
Your Honor. I can read you from the introduction and I
can read you from the conclusion. And the introduction

 

 

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standards when doing your work. Ask him if he
considered X standard, whatever it might be, in
connection with his work on this audit. Take his answer
yes or no and not ask him the next question, do you
think you followed it properly, do you think — you
know -- well, let me withdraw that.

I think I should be able to do two things.
I think I should be able to show the witness the
standard, ask the witness if he is familiar with the
standard, ask the witness if he considered the standard
when doing the work, and ask him if he believes he
followed the standard. Not asking him the ultimate
question, do you believe based on all your work your
audits were done in accordance with GAAS.

That was what this motion in limine speaks
to. It doesn't speak to asking a fact witness what
Standards he applied in doing the work, that's the
subject of the litigation. And then it's up to the
experts to make a determination if the witness's
application of those standards was in accordance with
generally accepted auditing standards or not.

I mean, how can he be precluded from telling
this jury what he did and what he considered when he did
his work?
THE COURT: Mr. Thomas, do you wish to

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 14 of 45

7 (Pages 2890 to 2893)

 

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Page 2890

address that issue as to have you considered?

MR. THOMAS: Yes, Your Honor. And by asking
him what he considered did you apply that in this audit,
that’s bolstering. It's just like --

THE COURT: I'm not saying apply. If he
considered it.

MR. THOMAS: If he considered it in doing
this audit. I'm going to talk to Mr. Lombana.

(Counsel confers.)

MS. BITAR: May I say one thing?

THE COURT: Hold on. Let me hear a response
from Mr. Thomas.

MR. THOMAS: I'm trying to understand the
analogy to medical. That's why I'm speaking to him.

(Counsel confers.)

MR. THOMAS: Your Honor, we disagree that he
could say that he considered specific standards and
applied them. That's bolstering. And by analogy, for
example, if a surgeon in a case was asked, did you
consider this book when you did it and it says you make
the cut here, you can't do those things. In this case,
if he's allowed to go through and say each standard he
considered in doing your work, that in and of itself is
bolstering and inappropriate and also violates the
motion in limine.

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is there are couple of standards that relate to his work
that are very specific to the issues in this case. I

was going to ask him if he's familiar with them and ask
them — and ask if he considered them when doing his
work. And I think I should be entitled to ask if he
believes he complied with them without getting to the
ultimate issue about whether this was a GAAS audit.

And that's fact testimony, Judge. That's
the work he performed and analyzed and he’s testified to
this before. This is no surprise.

MR. THOMAS: She can ask him whether he
thought he was doing his job. She can't say you thought
you were doing your job and you thought you complied
with GAAS or you complied with SAS.

THE COURT: I didn’t disagree with you on
that issue. Now, I will allow this and I will allow her
to -- Ms. Bitar. I'm sorry, and J don't mean to call
you her.

MS. BITAR: That's all right, Judge.

THE COURT: I won't allow Ms. Bitar to ask
the question as to whether he considered -- no. I'm not
going to allow you, Ms. Bitar, to go through every
single rule and ask him whether he considered it. I'm
not going to allow you to go that extra step. That's at
that point I believe Mr. Thomas is correct. And not

 

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Page 2891

I do believe that she can ask him in general
whether he considered the standards in doing it, but I
don't think you can go piece by piece through each
standard, I think that gets to the same purpose and it's
improper under your order and also under bolstering.

THE COURT: You wanted to say something
else?

MS. BITAR: One moment, Your Honor.

MS. BITAR: Mr. Alvarez who's done these
medical malpractice cases has advised me the first
questions you ask the surgeon when he takes the stand
are if he followed the standard of care.

THE COURT: I disagree with Mr. Alvarez.

MS. BITAR: And this is the equivalent of
that. Now, if you're not going to let me ask that
question, notwithstanding that Mr. Thomas has asked the
witness repeatedly are you doing your job, have you done
your job, which I think opens the door, Judge --

THE COURT: That's what I'm trying to
balance.

MS. BITAR: Which I think opens the door.

THE COURT: I'm trying to balance because I
don't want the case coming back on this issue. Maybe on
another issue but not this issue.

MS. BITAR: What I'm proposing to do, Judge,

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Page 2893

only is Mr. Thomas correct on one but he's correct on
both in that it's opinion testimony and it's unfair at
this time to do that.

Bolstering, Mr. Thomas has been --
there's -- I've been very flexible in that in the
bolstering part in your case at this point and I'm going
to be -- [ have to balance it out. So I'm going to
allow you to do that. But I don't know what you're
going to use or -- I'm not going to let you go through =
every single one. If you're going to use a couple of !
rules, I will allow you to do that, ask the question did
you consider it and Mr. Lenner is not to go beyond the
yes or no answer. 7

Well, I'll stop if he starts doing it. And i
I'm not sure Mr. Thomas is not going to get out of his
chair.

Okay?

MR. THOMAS: (Nodding).

MS. BITAR: So I'm clear I just want to make
sure I'm not running afoul of your ruling. I can
present very selective pieces of authoritative ‘
literature. 5

THE COURT: Authoritative meaning? f

MS. BITAR: Meaning GAAS, a couple :
 

Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 15 of 45

8 (Pages 2894 to 2897)

 

 

Page 2894 Page 2896 §
1 ‘THE COURT: The SAS rules? 1 DIRECT EXAMINATION (continued)
2 MS. BITAR: Yes, Your Honor, and use our 2 BY MS. BITAR: /
3 form. 3 Q. When we broke before lunch we were talking
4 THE COURT: And did you consider them and 4 about BDO's assurance manual. Do you remember that
5 _ that's it. 5 testimony generally, sir?
6 MS. BITAR: If he was familiar with them 6 A. Yes.
7 ~~ when he did the work, if he reviewed them and if he 7 Q. Mr. Lenner, I'd like you to look at what's
8 considered them. 8 been marked Exhibit 118 in evidence at page 518.
9 ‘MR. THOMAS: Your Honor -- 9 MS. BITAR: May I approach, Your Honor?
10 THE COURT: If he's familiar with them and 10 THE COURT: You may.
11 whether he considered this. Reviewing issue, it's 11 MS. BITAR: (Complies).
12 analogous even closer to bolstering. So I will allow 12. BY MS. BITAR:
13 you to ask him is he familiar and if he considered it. 13 Q. And Mr. Lenner, could you identify for the
14 ~~ And that's it. Nothing more than that. 14 record what that document is, please?
15 MS. BITAR: And I'm not permitted to ask 15 A. Yes. This is part of our assurance manual
16 »=him-- 16 and deals with the section accounts and notes receivable
17 THE COURT: I think it's my office. Hold 17 confirmations.
18 on. 18 Q. Were accounts receivable part of the things
19 (Judge on the phone. ) 19 you looked at in connection with the performance of your
20 MS. BITAR: But I'm not permitted to ask him §20 audits of Bankest?
21 if he believes he did a GAAS audit? 21 A. Yes.
22 THE COURT: Absolutely not. 22 Q. And does this part of the assurance manual
23 MS. BITAR: Am] allowed to ask him if he 23 give you guidance in this case?
24 thinks he did his job properly? 24 A. Yes, it does.
25 THE COURT: That's a general question. I'll 25 Q. Mr. Lenner, I'd like you to look at what's
Page 2895 Page 2897
1 allow you to do that. 1 listed at page 518 of the document relating to
2 MS. BITAR: Thank you, Judge. 2 alternative procedures. Do you see that?
3 THE COURT: Do you want to take these back? 3 A. Yes, it does.
4 Bring Mr. Lenner back first. 4 Q. And do you remember Mr. Feltman giving some
5 MS. BITAR: Your Honor, perhaps we want 5 testimony about the use of this assurance manual with
6 to--I don't know if we'll get to this in the testimony 6 respect to the -- your conducting the Bankest audits?
7 ~ but I'd like the opportunity to have you or me tell him 7 A. Yes.
8 that. 8 Q. Could you please blow up the alternate
9 THE COURT: Since I don't know what you're 9 procedure section, please?
10 going to ask him or what you'll use, I will certainly -- 10 (Technician complies.)
11 I will stop him if he says -- what I'm going to do is 11 And this talks about the use of alternate
12 instruct him to answer yes or no when you ask that 12 procedures to confirm accounts receivable, correct?
13 question. 13 A. Yes.
14 MS. BITAR: Okay, Judge. 14 Q. And Mr. Lenner, am I correct that there was
15 (The witness takes his seat at the witness 15 very, very low response rates with respect to
16 _ stand.) 16 confirmations that were sent out on the Bankest audits?
17 THE BAILIFF: All rise for the jury. 17 A. Yes.
18 (Thereupon, the jury was brought into the 18 Q. And asa result of that, what did the BDO
19 courtroom.) 19 audit team do?
20 THE COURT: All right. You may be seated. 20 A. It went into alternative procedures which
21 Ms. Bitar, you may proceed with your direct 21 __ included examining the invoice, examining the cash
22 examination. 22 receipts, et cetera.
23 MS. BIFAR: Thank you, Your Honor. 23 Q. And what does this section talk about with
24 Good afternoon, Mr. Lenner. Good afternoon, 24 respect to procedures?
25 A. This speaks to examining the subsequent

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ladies and gentlemen of the jury.

 

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 16 of 45

9 (Pages 2898 to 2901)

 

    
   
 
 
 
 
 
 
 
 
 
 
  

 

 

 

    
    
  
  
   
   
   
   
  
   
    

Page 2898 Page 2900
1 remittances which is the cash receipts. That's section 1 MR. THOMAS: Actually, I'm not sure exactly
2 1. And section 2 deals with examining documentation 2 what you said but the impression I got was it all right
3 such as shipping documents, sales invoices, and relevant 3 to carry out your audit, what did you do to make this --
4 correspondence according to account balances and 4 if this didn't apply, what did you do and he said I went
5 checks. 5 and looked at SAS 67 which would fall squarely within
6 Q. And are those things that the BDO audit team 6 His Honor's ruling.
7 ~~ «did? 7 THE COURT: That's my problem because I
8 A. Yes. 8 don't know what is going to come out of his mouth next.
9 Q. Mr. Lenner, do you believe you complied with 9 MS. BITAR: What he said is I considered
10 ~~ what the assurance manual required or suggested you do 10 this and SAS 67 on confirmations and that's all I was
11 with respect to alternate procedures? 11 going to ask him.
12 A. Yes. 12 THE COURT: But I wasn't sure what he was
13 Q. Now, Mr. Lenner, the BDO assurance manual, 13 going to answer.
14 _isit an industry specific document? 14 MS. BITAR: I don't know what he's going to
15 A. No, it's not. 15 say. Allright. Well, could you tell me what his last
16 Q. Could you tell us why it applies or might 16 answer was and I can go from there?
17 not apply relevant to the audits of Bankest, a factoring 17 (Thereupon, the court reporter read back the
18 company? 18 requested portion.)
19 A. Yes. This manual is geared for your typical 19 THE COURT: I don't what he's going to say
20 company which is either a manufacturer of a product ora —20 next.
21 distributor of a product like Sysco or a service 21 MR. THOMAS: You asked him how did he change
22 company, someone that provides a service for their time. 22 his audit and he said --
23 So Bankest was not one of those types of 23 MS. BITAR: I said --
24 three companies. It was unique. It was a factor. And 24 THE COURT: My problem is I don't know what
25 it's something that's not contemplated in the audit 25 he's going to say next. And I don't know if he's going
Page 2899 Page 2901]
1 manual. 1 to explain it. That's why I told you to ask a specific
2 Q. And so how did you change the procedures in 2 question.
3 _ conducting this audit so that it would apply and be more 3 MS. BITAR: I will ask him then the
4 relevant for the type of company you were auditing? 4 following: What is SAS 67 and he's going to say what it
5 A. We considered what was here. We also went 5 _ is and then I'll move on.
6 to the specific literature which is SAS 67, 6 THE COURT: That's fine.
7 MR. THOMAS: Objection, Your Honor. 7 (Thereupon, the side-bar conference was
8 THE COURT: Ask him another question. 8 concluded.)
9 Sustained. 9 MS. BITAR: May I continue?
10 MS. BITAR: Your Honor, may we approach? 10 THE COURT: You may.
11 THE COURT: Sure. 11 BY MS. BITAR:
12 (Thereupon, there was a side-bar conference 12 Q. Before the side-bar I believe you testified
13. outside the presence and hearing of the jury.) 13 that you considered what was in the BDO assurance manual
14 MS. BITAR: I thought your ruling, Judge, 14 and you considered SAS 67. Do you recall that?
15 was to the following and I wasn't asking what the 15 A. Yes.
16 standards -- 16 Q. And what is SAS 67, Mr. Lenner?
17 THE COURT: I know but he’s answering. 17 A. It's a statement. It's a statement on
18 MS. BITAR: Well, because they're 18 auditing standards. It's promulgated by the American
19 intertwined. My point is this. You said I could ask 19 Institute of Certified Public Accountants. f
20 him did he consider it and he said yes. But he said -- 20 Q. And what does it relate to? ?
21 I said did you consider this and he said J considered 21 A. It relates to the confirmation of accounts :
22 this and SAS 67. 22 __ receivable and the related alternative procedures. ;
23 THE COURT: Well, I don't know what he's 23 Q. Thank you, sir. :
24 — going to say next. That's why I asked you to ask him 24 Mr. Lenner, do you recall that Mr. Feltman
another question. also provided some testimony relating to BDO's use of i

 

 

 
 

Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 17 of 45

10 (Pages 2902 to 2905)

 

Page 2902

   
  
 
   
  
  
  
  
  
  
  
  
  
   
 
  
  

Page 2904 &

 

1 confirmations and sending them out? 1 ‘the confirmation of the accounts receivable and in
2 A. Yes, .2 particular, this section D deals with sending out second
3 Q. Mr. Lenner, I'd like you to now look at 3 confirmations.
4 Exhibit 323 in evidence. 4 Q. Now, this was the -- this was not the first
5 MS. BITAR: May I approach, Judge? 5 _ year in which Bankest -- BDO was doing an audit of
6 THE COURT: You may. 6 Bankest, correct?
7 MS. BITAR: (Complies). 7 A. That's correct. |
8 BY MS. BITAR: 8 Q. And if you turn, please, to section D-F, it
9 Q. Mr. Lenner, what is Exhibit 323, please? 9 says NCN. Can we blow up D and the answer, please?
10 A. This is the accounts receivable audit 10 (Technician complies.)
11 program. 11 Mr. Lenner, can auditors when doing their
12 Q. And could you tell the members of the jury 12 audit in the process of reviewing the planning memos
13 what that means, the audit program? 13 make a determination that a step that they had listed
14 A. The audit program lists the procedures that 14 was not considered necessary?
15 we plan on performing to conduct the audit to gain 15 A. Yes, certainly.
16 assurance that the accounts receivable or the particular 16 Q. And why is that, sir?
17 account is in accordance with generally accepted 17 A. The audit process is a fluid process. It
18 accounting principles. 18 can.change at any point in time.
19 Q. And does -- is there an audit plan or 19 Q. Does the accounting literature permit an
20 program for each of the various financial statement 20 auditor to change steps as necessary?
21 areas that you're going to be performing audit 21 MR. THOMAS: Objection, Your Honor.
22 procedures on? 22 THE COURT: Sustained.
23 A. Yes. 23 BYMS. BITAR:
24 Q. And so this is the one, the C sections, the 24 Q. Did you consider the accounting literature
25 _ Cssection -- can you blow that up, please? 25 when a step was changed in connection with the Bankest
Page 2903 Page 2905;
1 (Technician complies.) 1 audit?
2 That relates to accounts receivable, right? 2 A. Yes.
3 A. Yes. 3 Q. Could you tell the members of the jury how
4 Q. And that's what was important with respect 4 this step, sending out second confirmations, changed
5 to Bankest? 5 over time and why?
6 A. Yes. 6 A. Certainly. In the 1998 audit, we sent out
7 Q. Now, do you remember Mr. Feltman being asked 7 the confirmations, we did not get a response, so we sent
8 about this document? 8  outseconds. In the 1999 audit, we sent out
9 MR. THOMAS: Objection, Your Honor. 9 confirmations, first. We did not get a response so we
10 Commenting on the questions from another witness. 10 sent out seconds. And we did not get a response either.
121 THE COURT: Sustained. 11 The accounting literature --
12 BYMS. BITAR: 12 MR. THOMAS: Objection, Your Honor.
13 Q. Do you remember this document being shown in 13 THE COURT: Ask him another question.
14 this case, Mr. Lenner? 14  BYMS. BITAR:
15 A. Yes. 15 Q. Did you consider the accounting literature
16 Q. You see over here there's a reference to 16 which permits you to rely on history with a client --
17 NCN? 17 MR. THOMAS: Objection in the question, Your
18 A. Yes. 18 Honor.
19 Q. And can we blow up that whole section so 19 BYMS. BITAR:
20 that the jury sees what that reference relates to? This 20 Q. Did you consider the accounting literature
21 issection D. 21 which permits you --
22 (Technician complies.) 22 MR. THOMAS: Objection, Your Honor.
23 Mr. Lenner, could you explain this portion 23 BY MS. BITAR:
24 of the work papers for the members of the jury? 24 Q. -- to consider the history of the client --
25 25

A. This portion of the work papers deal with

 

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THE COURT: Sustained.

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 18 of 45

Page 2906

BY MS. BITAR:

Q. Mr. Lenner, we've just -- we've sat through
several weeks of this trial and heard a lot of testimony
about the work that the BDO audit team performed. Let
me ask you this question. Do you believe that you did
your job?

A. Yes, absolutely.

Q. And if you didn't think you had done your
job, would you have permitted BDO to issue audit
opinions in accordance with generally accepted auditing
standards?

A. Ipersonally would not be associated with a
financial statement in which I did not do the right job
nor would I let my firm be associated with a financial
statement in which we didn't conduct it in accordance
with generally accepted auditing standards.

MR. THOMAS: Objection, Your Honor.
THE COURT: Overruled.
BY MS. BITAR:

Q. Mr. Lenner, let's talk a little bit about
how an audit works. In a nutshell, let's say you have a
new client, how do you assemble a team?

A. The first thing you do is you try to learn a
little bit about the business. Then after you have an
understanding as to what type of industry the business

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11 (Pages 2906 to 2909)

   
  
 
   
  
  
  
   
  
   
  
  
  

Page 2908 f

And then after me, it would be the concurring partner.
And that would be a second partner who's assigned to a
particular type of engagement to provide a second set of
eyes as part of your quality control function.

Q. And what do you mean by a second set of eyes
in these circumstances?

A. What I mean by that is if an audit
engagement is deemed sensitive and it's a firm
requirement to have a concurring partner assigned to the
engagement which was the case here.

Q. Now we've heard some discussion about field
work. What is field work?

A. Field work is the work that you do at the
client's office. We call that the field. So it's
generally where most of the audit work is performed.

Q. And who are the people that are generally in
the field conducting an audit?

A. It would be the people that perform most of
the -- spend most of the time there and that would be in
this order, the staff, and the senior. They're there
most of the time. The manager there is to supervise and
to review. He or she is there for a considerable amount
of time. And then there is the two partners, myself and
the concurring partner.

Q. And are you in the field reviewing the work

 

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Page 2907

is in, you discuss it with the partners and you look for
the people in your office that have the relevant
experience who can properly service the account.

Q. And once that determination is made, how is
the team assembled?

A. What happens next is we have a scheduling
meeting. Then we decide which people will be assigned
to the job. Then we decide which manager, which senior,
and which staff will be assigned to the audit.

Q. And do auditors on a job have specific
titles?

A. Yes.

Q. Referring to the Bankest audits, what were
the levels of audit staff you had when conducting those
audits?

A. Starting with the lowest level and then
working up, the first level would be your staff
accountant. Typically it would be a person with
anywhere from a couple months to a couple years of
experience. Then you would have a senior accountant
which would have anywhere between three to six years
experience. Then there would be a manager on the
assignment that could have anywhere between seven to 12
years of experience. Then there would be a partner, the
engagement partner. And in this assignment that was me.

 

 

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Page 2909 F

or is that generally done after the work is finished?

A. I'm generally in the field reviewing the
work. It doesn't happen all the time but I try in most
situations to actually be at the client's office to
perform my job.

Q. Now, let's give some perspective. How long
did an audit -- does an audit like Bankest take?

A. An audit like Bankest took anywhere between
350 to 450 hours over the period of time that we were
performing the audit. So it's -- each year it would
take between 350 to 450 hours.

Q. And is that the amount of time that all the
auditors spend or is that 300 or 400 each person?

A. No. That is the total of all the auditors
together each year.

Q. And you said over the period of time.
Generally speaking, how long does an audit take and when
is it done relative to the last day of the -- relative
to the balance sheet date?

A. We would generally perform a little work in
the fourth quarter. That would be sometime between
September, October, and November, do some work then.
But most of the work occurred in January, February.
That's after the company was able to close out their
books. That was when most of the work occurred.

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 19 of 45

12 (Pages 2910 to 2913)

 

 

Page 2910 Page 2912

1 J anuary, February, sometimes March. 1 been prepared by the company, by the client, in

2 Q. And to be clear, when you say close out 2 accordance with generally accepted accounting

3 their books, what was the date in which Bankest would 3 principles. So they're fairly presented because that's

4 yearly close out its books? 4 the benchmark that you have to compare the client's

5 A. Close out the books, broadly speaking, just 5 financial statements against those principles of.

6 means to get the books ready to be audited and Bankest's 6 accounting. And the financial statements are always at

7 ~~ year-end was December 31st. 7  aparticular point in time. There's a balance sheet

8 Q. And that's why when we look at the financial 8 which is as of, in this case, December 31st, and then

9 _ -» the audit opinions they're as of 12-31 of a 9 there is the income statement which is another important
10 particular year; is that right? 10 financial statement in the set of financial statements
11 A. Yes. 11 that are given to the clients each year.
12 Q. Now, what is an audit opinion? 12 Q. Let me ask you this question then. When BDO
13 A. The audit opinion is generally the first 13 = does an audit, is it opining about the financial
14 page of the audited financial statements which are 14 condition of the company as of the balance sheet date?
15 behind it. And that's what the audit firm is giving the 15 A. Yes.
16 client. The audit opinion states that we have audited 16 Q. So if something happens a day later, is BDO
17 the financial statements for a particular time period. 17 rendering an opinion on the financial statements of the
18 _ Italso states that the -- that we conducted the audit 18 company on January Ist?
19  imaccordance with the generally accepted auditing 19 A. No.
20 standards. 20 Q. Now, why would a June 30th balance sheet be
21 And then at the end we give an opinion that 21 different than a December 31st balance sheet?
22  imall material respects, the financial statements are 22 A. A December 31st balance sheet is as of a
23 fairly presented. 23 particular point in time. In the case of Bankest, the
24 Q. Now, Mr. Lenner, I just pulled one up on the 24 predominant asset there, as we hear, is the accounts
25 screen to help the jury. Is this an example of a 25 receivable. That accounts receivable is collected every

Page 2911 Page 2913 k

1 financial statement? 1 couple of months and the new receivables are purchased.

2 A. That would be the first page known as the 2 So it's a very fluid process constantly

3 cover sheet. 3 changing every day. And certainly after six months at

4 Q. And if you go to the second page, please. 4 June 30th it would be a totally different set of

5 (Technician complies.) 5 information that's in the financial statements.

6 Where it says independent auditors’ report. 6 Different invoices were being purchased as well as it

7 Is that what you mean by the audit opinion? 7 ~~ could conceivably be different customers.

8 A. Yes. 8 So it's a totally different balance sheet as

9 Q. And is that what BDO is responsible for? 9 of June 30th when compared to December 30th.
10 A. Yes. 10 Q. And is that, Mr. Lenner, because if most of
11 Q. And then could you turn to the next page 11 these receivables have a 90-day payment cycle, three ;
12 please, Glenn? 12 months after an opinion is issued those receivables are :
13 (Technician complies.) 13 no longer on the books, they've been paid for andnew — i
14 Then you get into the actual financial 14 receivables have been purchased, correct? 4
15 information itself, correct? 15 MR. THOMAS: Objection. Leading, Your :
16 A. Yes. 16 Honor.
17 Q. And who's responsible for the financial 17 THE COURT: Sustained. Sustained. :
18 statements of the company? 18 BY MS. BITAR: :
19 A. Its management and it says that on the first 19 Q. Why is three months relevant at Bankest, Y
20 page. 20 Mr. Lenner? :
21 Q. Now, when we say that the company's 21 A. Well, in the example that I just gave you it
22 financials present fairly in all material respects, what §}22 wassix months. Certainly three months is relevant, :
23 does that mean? Does it mean as of a certain point in §/23 too, because the receivables turn over, that means they E
24 time? 24  arecollected. Generally the terms were 90 days. They i
25 A. It means that the financial statements have i

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could vary. But, generally speaking, if the term is 90
Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 20 of 45

13 (Pages 2914 to 2917)

 

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- money.

Page 2914

days it means the receivable should be collected in 90
days and then a new receivable is purchased.
So it's basically very stale information if
you look at December 31st and you look at March or June.
It's apples and oranges.

Q. Now, does an audit determine how a company
is doing throughout the year?

A. Yes.

Q. In what respect?

A. That would be the income statement and the
income statement has basically three important items.
One is revenue, the second one is expense, and the third
is net income. That's if you're making money or losing

In the income statement its purpose is

basically it aggregates all of the revenue that the
company is earning for each of the 12 months as well as
all the expenses that the company is paying each of the
12 months.

So the income statement is very similar --
looking at the revenue it would be very similar to a W-2
that you would get from your employer. It's what you
earned for a period of time.

Q. Does the balance sheet reflect how the
company does throughout the year?

Page 2915

A. No. The balance sheet is just a snapshot.
It's what they have which is a receivable. What they
owe. It's similar to your checking account or your
credit card statement. It's what you owe at a
particular point in time in your credit card statement
or what you have in your own bank account. That's what
the balance sheet is.

Q. And in the Bankest case, that was as of
12-31 of a particular year?

A. Yes, it was.

Q. Now, Mr. Lenner, we've heard some testimony
about internal controls. Have you heard some of that
testimony?

A. Yes.

Q. Could you explain to the members of the jury
what is internal control and why it's important in
connection with an organization?

A. Okay. Internal control is very important.

And what it is, it's a process that's affected by the
company's board and management to achieve certain stated
objectives. The three primary objectives are

reliability of the financial statements, efficiency and
effectiveness of the company's operations and third,
compliance with the laws and regulations for that

industry.

  

 

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Page 2916

Q. Now, talking about Bankest, did you -- did
the BDO audit team consider the internal controls of
Bankest when making a determination about how to conduct
the audits of Bankest?
A. Yes. What we considered is within the

internal controls structure, it just described a
process. And the process leads to the recording of
financial and non-financial information for any company.
An internal control, is the -- what we consider and what
the company has to have and most companies have this, is
the first element which is probably a very important
element and it's called the control environment.

And the control environment is the tone at
the top that's set by the board to run the business.
It's basically the control consciousness and I'L
explain controls next.

What these controls are, these control
activities, these are policies and procedures that have
to be in place for the company to run their business to
reach their stated objectives. Policies and procedures
would be some examples, would be review and approval
process, two signatures on a check, just where there is
someone reviewing what someone else is doing.

The third aspect is part of a control
environment that we assess, is the risk assessment. And

Page 2917

that deals with what is the extent of or what is the
degree of the risk that the company is undertaking or
how it assesses these risks in conducting their
business.

Q. Now, Mr. Lenner, I don't mean to interrupt
you but I want to make sure you're answering my question
and maybe you are. What is inherent risk?

A. Inherent risk is a risk that's very specific
to the industry as well as to the company. It basically
is the risk that there might be a material misstatement
in the event that there are no controls. Like we just
spoke about, if the controls aren't there, how
susceptible is this company's product or business to a
risk. And the typical example would be a jewelry store.

A jewelry store without controls is very
susceptible to the risk of fraud. Someone might steal
something and the controls are not working. Controls
have to be in a jewelry store and if the controls are
working, then that's good. Compared to a company where
the product is not so susceptible, would say a company
that manufactures mattresses and box springs, that
generally just keeps inventories of coils, wood, canvas.
That type of inventory product is not susceptible to a
fraud. It's very hard for that kind of product to be
put into the pickup truck and be driven away.

 
Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 21 of 45

Page 2918

.14 (Pages 2918 to 2921)

Page 2920

 

 

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by that is we do it for all the accounts on the balance

  

   

 

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i So inherent risk deals with what the 1 sheet and if you remember, there are about six or seven
2 business -- you know, the risk that's there's a material 2 accounts beginning with cash and accounts receivable and
3 misstatement in the business without any type of control 3 a few other accounts.
| 4 activities or any controls. 4 We do that for each account because we want
5 Q. Okay. Now, understanding that different 5 to understand what are the risks of misstatement for
6 types of companies have different inherent risks, is 6 that particular account. And in order to do that you
7 there another part of the analysis called control 7 have to understand the risks and you have to understand
8 strengths? 8 the control strengths that are there to offset the
9 A. Right. 9 risks.
10 Q. What is that, sir? 10 So that's what we do on each and every
11 A. Controls strengths are -- if you remember in 11 audit, including the Bankest audit.
12 that example before a couple of minutes before -- are 12 Q. Now, Mr. Lenner, is that process part of
13 the control activities that are put there by the company 13 audit planning?
14 to offset, to mitigate, to deal with those risks of 14 A. Yes, it is.
15 something going wrong, of a material misstatement 15 Q. Why is audit planning important?
16 happening. 16 A. Audit planning is important because like
17 Some control strengths would be -- some 17 anything you do in life, it's always a good idea to plan
18 examples would be -- at the higher level would be an 18 what you do. But it's particularly important for the
19 active board in running the company. That's a good 19 auditor because the auditor has to first determine what
20 control strength. 20 is the risk of misstatement and after you do that, you
21 A second one which is very simple and very 21 determine your audit procedures.
22 _ basic is experience. If the board and management have 22 So that's -- part of the audit plan is first
23 experience, that's a control strength. And then getting 23 determining the risk profiles for each account that
24 alittle granular, another example would be if the board § 24 you're going to be auditing. Then after you have an
25 _ oversees the control activities in the business. That's 25 understanding of the risk profiles, then you design what
Page 2919 Page 2921 —
1 good. And the board is in favor of having good controls 1 you're going to do to be satisfied that that account is
2 in place. 2 fairly stated.
3 So those are control strengths that offset 3 Q. Now, let me ask you a question. The higher
4 those inherent risks that we've been speaking about. 4 the risk -- is it fair to say the higher the risk
5 Q. Now, when auditing a company and let's use 5 generally the more steps you're going to perform? :
6 Bankest as an example because that's what's relevant in 6 A. Yes. :
7 this case, did BDO consider both the inherent risks and 7 MS. BITAR: Your Honor, may I approach the Ff
8 the control strengths when developing an audit plan to 8 witness? ;
9 audit the company? 9 THE COURT: You may. :
10 A. Yes. Of course. 10 BYMS. BITAR: :
1i Q. And how is that done in terms of the work 11 Q. Mr. Lenner, I'd like you to look at Exhibit :
12 papers because we're going to be looking at some of them §12 3003 in evidence. Could you identify it for the record? }
13 now? 13 A. Exhibit 3003 is a compendium of the work :
14 A. We have -- like many other national firms, 14 papers for the E.S. Bankest audit for the year-ended :
15  wehave questionnaires that deal with identifying those 15 December 31, 1998. ;
16 inherent risks as well as questionnaires that deal with 16 Q. Now, Mr. Lenner, I'd like to direct your :
17 the control strengths. So the idea is when we start the 17 attention to page 143 of the 1998 audit and we're
18 audit, is to identify the inherent risks and then to 18 going -- I'm going to be asking you a bunch of questions
19 identify the control strengths. 19 about this audit as an example year. Okay?
20 Q. And once you analyze those two factors, why 20 A. Yes.
21  doyou do that? 21 Q. Now, Mr. Lenner, the first document I'm
22 A. You have to offset -- you have to match the 22 showing you is called the audit engagement planning 5
23 control strengths to the inherent risks because we're 23 memo. Could you tell the members of the jury what this
24 — doing that on an account by account level. What Imean §24 document is? :
25 25 A. What this document is it's a checklist. :

 

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 22 of 45

Page 2922

It's a reminder of the procedures that each auditor must
complete for sensitive engagements in connection with
the completion of the planning stage of the audit which
was before you carry out the audit plan. These are a
bunch of questions that we need to respond to to help us
understand and properly plan the audit.

Q. Let's goto part A. It says are the
following conditions present. If you go to Number 2 it
asks -- part A, Glenn.

(Technician complies.)

And Number 2. Part A 1 B, significant
changes. Can you blow that up, please?

(Technician complies.)

The question reads, "Are there significant
changes in officers, directors, more than 20 percent
stockholders or any other individual or entities that
could significantly influence the financial statements?"
Do you see that?

A. Yes.

Q. And the audit team checked off yes?

A. That's correct.

Q. Why is that an important question?

A. Well, if you -- if there were changes in
who's running the business which are typically officers
and directors, it could have an effect on your plan

Page 2923

because if this was the second year of doing the audit
and you thought there was one set of shareholders in
place and it changed, then if it changed then you'd want
to note it here.
So it's something that you want to make sure

that you've considered that in your audit plan.

Q. And looking at some of these other
questions, you consider questions like if there's been a
conviction of a client or an employee, if there's been
any illegality, if there's been threatened litigation,
those are the types of things you think about when
making a determination about how to plan the audit?

A. Absolutely.

Q. Tread -- if we can blow that up? "Is there
a financial interest of firm member in client or a new
relationship that might impair our objectivity?" Do you
see that?

A. Yes, I do.

Q. Soin planning for the audit you also
consider from the initial stages if there are any issues
relating to the objectivity of the audit team in
performing the work?

A. Yes, we do.

Q. Turning to the next page of the document up
at Number 3 it reads -- blow that up -- "Have we updated

 

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audit year?

  

15 (Pages 2922 to 2925)

  
   
  
   
    
   
  
   
  
  
  
  
   
   
   
  
  
  
  
  
   
  
  
  
   
  
  
  
 

Page 29246

the permanent file?" That refers you to the audit
manual. What is the permanent file, sir?

A. A permanent file is a document -- looks
something like this, and what it has it has documents
that are permanent in nature such as a factoring
agreement in this case. Or a typical permanent file
would have a lease agreement, things that are going to
carry over year after year as well as certain policies
and procedures as to the company's controls. Items like
that are typically in a permanent file.

Q. Are private placement memorandums contained
in a permanent file?

A. Yes.

Q. Are leases contained in a permanent file?

A. Yes.

Q.__Isit the type of documents that have
continuing life that might be used from audit year to

A. Yes. ;

Q. Going to the bottom of this document at
number 19, one of the questions relating to the planning
of the audit says, "Have we communicated with management
regarding significant matters relating to the planning
process and documented our understanding as to the
assistance to be provided by the client's personnel, for

Page 2925}

example, the PBC schedule?" Why is that important and
what is a PBC schedule?

A. A PBC schedule is a document that -- well,
first let me start by explaining what PBC means. It
means prepared by client. So it's a list of documents
that we would like the client to prepare for us in order
for us to complete the audit or to gain certain audit
evidence that we need. It's a very fluid process. It's
a document that changes. It starts off at the first
week of the audit or maybe a week before the audit even
begins and it's constantly updated. As the audit
develops and as we gain new information about the audit
we adjust this PBC list.

Q. And, Mr. Lenner, is it -- am I correct that
you need assistance from the audit client to undertake
the audit?

A. Absolutely, yes.

Q. Now, going to the next page of the document,
up at the top it says, ' Documentation of preliminary
estimate of materiality."

A. Yes.

Q. And could you explain what that is and why
that's important in planning an audit?

A. Okay. Whenever you plan the audit since the
audit is a -- you perform selective tests. You don't

 
 

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 23 of 45

Page 2926

examine every single number, every single transaction.
What helps the auditor is the determination of what's
called the materiality. And materiality is, generally
speaking, a number by which a misstatement of that
number or the omission of that number might affect the
user's judgment about the financial statements should he
or she have known about that number. So that's
materiality.

It's something that's very prevalent in all
audits. And in this case the materiality determined was
about $175,000.

Q. And, Mr. Lenner, so I'm understanding
correctly, you're saying that for a particular account
balance the audit team makes discussions about basically
a threshold number about what might matter or might not
matter about the reading of the financial statements?

A. Yes.

Q. And when you're considering issues like
materiality, does that factor into how you're actually
going to test certain accounts?

A. Yes, it does.

Q. And is a determination of materiality set
just by the audit team or is there guidance from any
others at BDO associated with the audit?

A. The materiality is initially set by the

Page 2927

senior or the manager. It's discussed as part of the
planning. It is approved by the partner. Sometimes we
will go out of the office to a specialist and seek their
approval in certain situations.

Q. And was that done in the Bankest audits?

A. Yes, it was.

Q. And who was the person that provided
assistance on making determinations about materiality?

A. Over the years I think it was either one
or -- either Ms. Eileen McGinley or Ms. Carla Freeman.

Q. And are those two of the people that are
technical advisors that we've been hearing about?

A. Yes. These people -- BDO has many regional
technical advisors as well as specialists throughout the
firm. And when we need their support, it's very common
to converse with them and to discuss a particular issue
with them.

Q. Turning to page 148 of the document at BDO
641, this part of the planning required that BDO audit
team consider who is going to be the engagement team,
correct?

A. Yes.

Q. And then below that it asks that you
document the industry experience of the engagement team.
Do you see that?

 

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16 (Pages 2926 to 2929)

   
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
   
  
   
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
  

Page 2928

A. Yes.

Q. And someone wrote in here that the /
experience was adequate. Why did you believe when you
conducted this audit that the experience of the team was
adequate?

A. The experience of the team was adequate
because starting with our manager, he had financial
institution experience, about ten years experience in
total.

Q. Who was that, by the way?

A. Mr. Rivera. Secondly, the concurring
partner, Mr. Keith Ellenburg, he was in charge at that
time of our financial institution practice which is
primarily banks and mortgage bankers. And he certainly
had a wealth of experience.

Myself at that time I had clients that were
in the financial services business as well as I had
experience with factors from the client side where my
clients were -- some of my clients were borrowing money
from factors or selling their receivables to factors and
had experience from that side.

So taking that all together, we believed
that we had sufficient experience to conduct this audit.

Q. Turning to the last page of the planning
memo, please. It states conclusion. Blow that up,

Page 2929 ;

please.

(Technician complies.)

And it says, "We've reviewed the planning
documentation contained herein and we are satisfied that
the planning process has been completed, the budget
realistic, and specific consideration has been given to
performing an effective audit" -- excuse me, "has been
given to performing effective audit procedures in the
most efficient manner."

Mr. Lenner, why is that important as part of
the planning of the audit?

A. Well, before you go into the next phase
which is after planning we call execution or performing
the audit, it's really important that the engagement
team, we all agree on the plan and we're satisfied that
this checklist was complete which is a compendium of
everything that's important and we want to make sure and
we document that agreement by signing off in this
conclusion section.

Q. Now, Mr. Lenner, let's talk about some of
the other planning documentation. Let's go to the
inherent risk questionnaire. Do you have that document,
sir? I'll give you the Bates stamp.

A. Please do -- I --

(Complies).
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Case 06-01220-AJC Doc 230-13

Filed 09/16/08 Page 24 of 45
17 (Pages 2930 to 2933)

 

 

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Page 2930
. Q. We're at BDO 164 at Bates stamp 657. Do you 1
have that, sir? 2
A. Yes. 3
Q. Now, Mr. Lenner, we've seen some of the 4
questions on the inherent risk questionnaire but we're 5
going to look at some other ones, okay? 6
A. Yes. 7
Q. The first part of this inherent risk 8
questionnaire talks about management characteristics. 9
Do you see that? 10
A. Yes. 11
Q. When you were discussing before the 12
assessment of the inherent risk and the control 13
strengths, is this the form that the audit team fills 14
out relating to its analysis of the risks? 15
A. Yes. This particular page deals with the 16
first part that I was discussing and that's assessing 17
the inherent risks of the client that you're about to 18
audit. 19
Q. And the first set of questions relates to 20
management characteristics, correct? 21
A. Yes, it does. 22
Q. Let's just look at a few of these so we can 23
all get a flavor of the types of things you look at. 24
25

Question one reads, ''Are the entities operating and

   

Page 2932 §

     

what I mean by that segregation of duties very simply
speaking is having a person checking another person in
your job. So a domineering person might override that
and do it himself. So you can't -- it might be a risk

if you have a domineering person there. Because there's
a risk that that person might override the segregation
of duties function.

Q. Now, question three reads, 'Do management
lack sufficient relevant experience and knowledge to
operate this business effectively?" Do you see that?

A. Yes.

Q. And the team answered no, right?

A. Yes. That's correct.

Q. Why is making a determination about the
significant relevant experience of management important
when assessing inherent risk?

A. Well, if you have a new company or you have
new management and they're not familiar with the
industry, they're not familiar with the business, then
they're probably not going to make the right decisions
in running their business.

So it's always better from a risk
standpoint, it's less risk if management is experienced
when they run a particular business.

Q. Then if you go to question 9 it asks, "Are

     
     
       
     
     
     
     
     
     
     
     
     
     
     
 

  

 

 

  

 

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Page 2931

financial decisions dominated by a single person?" Do 1
you see that? 2
A. Yes. 3

Q. And the BDO team answered no, correct? 4

A. Yes. 5

Q. And that C.M. is Mr. Mohr? 6

A. That's correct. 7

Q. Why is that an important question in 8
considering the risks associated with auditing the 9
company? 10
A. Well, if there's a person that's domineering 11

in management, there is a risk that that person might 12
override the internal -- one of the internal control 13
activities by doing more things himself and not letting 14
other people do their jobs because he or she wants to 15
override and possibly misstate the financial statement. § 16
So it's important that we want to know if the business 17
that we're about to audit has a domineering person or §18
not. 19
Q. Is there a concept in auditing known as 20
segregation of duties? 21
A. Yes. 22

23

Q. How does it apply to this question?
A. Well, if you have a domineering person, that
person might prevent that segregation of duties. And

 

 

 

Page 2933 —

   

management inclined to accept unusually high business
risks?"" Why is that question important in assessing the
risk of an organization?

A. Well, if management is inclined to take high
business risks, then there is the potential that they
might shortcut something, they -- because if they're
taking a higher risk they want to make more money and if
they're going to be doing that, they might be motivated
by the money and they might just take a lot of risks.

And that would present an audit problem to us because
we'd have to implement more procedures to deal with

      
   
   
 

those types of risks.

Q. Turning to the second page of the document,
question 16 asks, ''Does management have a poor attitude
and discipline toward controls and their enforcement,”
and then question 17 asks if management has a poor
attitude toward compliance with external legislative or
other regulatory obligations.

Why are these the type of questions you need
to consider when making a determination about the
inherent risk of auditing a company?

A. Well, these two questions deal with what I
was explaining a little earlier before in the first and

        
     
   
           
           
   
   

very important aspect of internal control and that deals
with the tone at the top. What exactly is management

    

 

 

   

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 . Page 25 of 45

18 (Pages 2934 to 2937)

 

 

Page 2934 Page 2936 &
1 all about and what is their attitude in controls. 1 A. Yes.
2 That's what question 16 deals with and 17 deals with if 2 Q. Mr. Lenner, referring now to Bankest in
3 they're just not respective of the regulatory rules and 3 1998, did you know that to be the case?
4 requirements that’s somebody that's going to -- that 4 A. That was not the case.
5 might have some problems and we want to know that. 5 Q. Take that down.
6 So in this case, Mr. Mohr answered no and it 6 (Technician complies.) ;
7 was our view that there wasn't a poor attitudes towards 7 Mr. Lenner, could you walk the jury through
8 the compliance with legislation. 8 your understanding of the use of BDO's audit opinions in
9 Q. Now, when BDO was filling out this 9 connection with private placement memorandums starting
10 questionnaire in 1998 -- actually in 1999 in connection 10 _ with the predecessor entity BRFFC?
11 with their 1998 audit, was this the first year that 11 A. When we were performing the audit of this
12  Bankest was in existence? 12 predecessor entity BRFFC, which was for the year-ended
13 A. Yes. 13. December 31, 1995, we were aware that they might use the
14 Q. And were at least some of the people that 14 financial statements in a private placement.
15 _ were in charge of Bankest people who you had familiarity {15 If they were going to do that, then there
16 with because they had been running BRFFC? 16 was certain obligations that they had to follow. And
17 A. Yes. 17 _ that's when, you know -- that's when we had some trouble
18 Q. And so did that factor into some of the 18 with them even way back when.
19 conclusions that were rendered by the audit team when 19 Q. Now, is it fair to say then that there's two
20 answering these questions? 20 questions that have to be considered. One, when you're
21 _A. Yes. 21 starting -- when you're going through this planning
22 Q. Mr. Lenner, let's turn to questions 18 and 22 process, does the audit team have an understanding that
23 22 which we've all seen many times now. Do you have 23 _ the financials may be used in connection with the sale
24 those questions? 24 = of securities, correct?
25 A. Yes. 25 ” MR. THOMAS. Objection. Leading, Your
Page 2935 Page 2937
1 Q. Let's go to question 22. Now, this is the 1 Honor.
2 _ section that relates to engagement characteristics, 2 THE COURT: Sustained.
3 correct? 3. BY MS. BITAR:
4 A. Yes. 4 Q. Mr. Lenner, what are the two considerations
5 Q. What are engagement characteristics, sir? 5 that go into your head when considering the use of BDO's
6 A. They are particular attributes that are 6 audit opinion?
7  wnique to the particular audit client and some of the 7 A. Well, in 1995 when we were aware that they
8 examples would be here if -- looking at 21 -- if this 8 might use the audit opinion in a private placement, the
9 particular client, this entity is prone to be involved 9 obligations that they had would be to make us aware of
10 ina large number of lawsuits. That's an engagement 10 it by giving us the financial statements as well as the
11 characteristic, something that's specific to the 11 private placement in sufficient time for us to review
12 engagement or specific to the client. 12 the private placement and for us to review the audited
13 Q. And turning to 18 and 22, those questions 13 statements, again just to be sure that they haven't
14 were answered by Mr. Mohr, correct? 14 changed.
15 A. Yes. 15 Q. So to kind of sum this up, you start working
16 Q. And this was his first year working on 16 on this new client, correct?
17  Bankest, correct? 17 A. Yes.
18 A. Yes. 18 Q. And you interview the client, correct?
19 Q. And it's the first year Bankest existed? 19 A. Yes.
20 A. Yes. 20 Q. And you develop an understanding that they
21 Q. Going to question 22, it says, ''Does the 21 may be using your opinion for the placement of notes,
22 _ entity have plans to raise financing using these 22 correct?
23 financial statements,"' and he answered yes and then the 23 MR. THOMAS: Objection. Leading.
24 financial statements are included as part of the 24 THE COURT: Sustained.
25 BY MS. BITAR:

 

 

debenture private placement memo, right?

    

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 26 of 45

19 (Pages 2938 to 2941)

 

Page 2938

    
   
  
   
  
   
  
   
 
  
   
  
  
 

Page 2940

 

1 Q. What understanding do you develop, 1 information for your review before the opinion can be

2 Mr. Lenner, about the use of BDO's financials with 2 issued?

3 _ respect to the placement of debentures? 3 A. It's in the first two paragraphs.

4 A. In 1995 it was our understanding that they 4 Q. Can we blow that up, please, Glenn?

5 might use the financial statements in a private 5 (Technician complies.)

6 placement. 6 Are those the two paragraphs you're

7 Q. Now, once you understand that at the 7 referring to?

8 inception of the audit, what's the next thing that has 8 Now, Mr. Lenner, is it your understanding

9 to happen before the opinion, the BDO opinion can be 9 that those requirements exist in every one of the
10 ~used? 10 engagement letters relating to all the Bankest audits as
11 A. They need -- the company, the client needs 11 well?
12 to contact the audit firm and to deliver to them the 12 A. Yes.
13 private placement memorandum in its full form along with §13 Q. Now, I believe Mr. Thomas showed either you
14 the audited financial statements. So we have the time 14 — or Mr. Ellenburg Exhibit 61. Can you please look at
15 toreview the PPMs as well as the financial statements 15 that?
16 again. 16 MS. BITAR: May I approach, Judge?
17 Q. Let's look at Exhibit 63-A. Can you 17 THE COURT: You may.
18 identify that document, please, for the jury? 18 MS. BITAR: (Complies).
19 A. That is our engagement letter for the first 19 BY MS. BITAR:
20 = audit of BRFFC. 20 Q. Turning to the second page, this has
21 Q. And Mr. Lenner, could you show us where 21 language that's a little bit different than the other
22 there is the separate and independent requirement that 22 ones we've seen.
23 the client has to give these statements to you for your 23 Do you see that where I'm talking about that
24 review before the opinion can be attached? 24 where it says reproduction of report and review of
25 A. Yes. If you go to page 2, it's the top two 25 documents (inaud.)

Page 2939 Page 2941

1 paragraphs. 1 A. Yes.

2 MR. THOMAS: Objection, Your Honor. This 2 Q. Can you blow that up, please, Glenn?

3 document is not in evidence but I'll agree that it comes 3 (Technician complies.)

4 in. As far as we can tell it's not. 4 Now, Mr. Lenner --

5 MS. BITAR: I believe it was entered through 5 MR. THOMAS: Excuse me, Your Honor. What's

6 Mr. Elienburg. 6 been provided to me is different than that and it has

7 THE COURT: My clerk will figure it out. 7 handwriting and a question on it. I just want to know

8 That's her job. FIl lay the foundation if I need to. 8 if the witness has what's on the screen or does his have

9 TJ apologize. 9 handwriting and questions?
10 MR. THOMAS: I'll stipulate to it. 10 MS. BITAR: May I approach the witness?
il THE COURT: 63, according to my clerk this 11 (Complies).
12 isin. 63-Ais not. So without objection -- mark it 12 It does. Thank you, Mr. Thomas. i
13 then Defendants’ Exhibit -- is it defendant or 13. BY MS. BITAR: F
14 ~pilaintiff? 14 Q. Mr. Lenner, could you read that document 2
15 Plaintiffs’ Exhibit 63 marked for 15 without having a copy in front of you? :
16 identification is now Defendants’ 63 in evidence. 16 A. Yes.
17 MS. BITAR: 63-A. 17 Q. Now we found where my working copy went. :
18 THE COURT: I'm sorry, 63-A in evidence. 18 Mr. Lenner, was it your understanding that !
19 MS. BITAR: Thank you. 19 with respect to this engagement letter as well there was
20 BYMS.BITAR: 20 arequirement for BDO to review the documentation for :
21 Q. Mr. Lenner, turning to the second page of 21 anything other than a planned private placement i
22 the engagement letter -- 22 memorandum? i
23 A. Yes. 23 A. We had to review, as these paragraphs say, ;
24 Q. -- could you identify where in thisdocument {24 any document being offered for the sale of securities or ff
25 it indicates that the client needs to provide this 25 any time that our audited financial statements are

 
  
    
  
  
   
 
   
  
  
  
   
 
  
  
      

 

 

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 27 of 45

20 (Pages 2942:to 2945)

 

  
  
  
  
   
  
   
 
  
  
   
  
  
  
  

 

 

 

  
   
   
   
  
  
  
  
  
   
  
  
 

Page 2942 Page 2944 ff
1 included ina document, we needed fo review it. 1 _ contacted at that time Mr. Frank Pearlman who was one of :
2 Q. And looking at the first paragraph, if you 2 our regional directors to make them aware of the '
3 could highlight that, please. 3 situation.
4 (Technician complies.) 4 Q. And was that what the rules of BDO required?
5 It says, "If E.S. Bankest plans reproduction 5 A. Yes,
6 or publication of our report or any portion of it, 6 Q. And could we turn to Exhibit 66 in evidence,
7 copies of the master's or printer's proofs of the entire 7 please?
8 document should be submitted to us in sufficient time 8 And Mr. Lenner, did you write Mr. Pearlman a
9 for our review and approval before printing. You also 9 memo?
10 —_ agree to provide us with a copy of the final reproduced 10 A. Yes. That's the memo I wrote Mr. Pearlman.
11 material for our approval before it's distributed." Did 11 Q. And that's a May 27th memo relating to the
12 =I read that correctly? 12 use of the BDO opinion improperly, correct?
13 A. Yes. 13 A. Yes.
14 Q. And Mr. Lenner, does that tell you that you 14 Q. And going to the portion that says,
15 were supposed to review printer's proofs of any private 15 "Subsequent procedures performed by BDO"?
16 placement memorandums before an audited opinion could be J 16 A. If you don’t mind giving that to me. I
17 issued? 17 can't see.
18 A. It certainly does. 18 MS. BITAR: May I approach, Judge?
19 Q. Thank you. Now, getting back to some -- you 19 THE COURT: You may.
20 referenced some problems with respect to the 1995 20 MS. BITAR: (Complies)
21 audited opinion. 21 BY MS. BITAR:
22 THE COURT: Is that an objection? 22 Q. Ifyou can blow up that section, please.
23 MR. THOMAS: It was a bless you for a 23 (Technician complies.)
24 — sneeze. 24 I'm not going to go through the various
25 (Laughter). 25 steps with you but let me ask you this question: Are
Page 2943 Page 29459,
1  BYMS.BITAR: 1 there specific detailed steps you need to take when
2 Q. What happened in connection with the BDO 2  BDO's opinion is going to be attached to a securities
3 1995 audited opinion? 3 offering?
4 A. What happened is about a year later when we 4 A. Yes, there are. ;
5 were performing the 1996 audit, we were reviewing the 5 Q. And they're reflected in this memo?
6 _ private placement document and what we saw was that our 6 A. Yes. ;
7 audited opinion and the company's financial statements 7 Q. And is it fair to say, sir, that the fact Z
8 were attached to the private placement. And -- 8 that the opinion was used without BDO's review and i
9 Q. Now, let me just interrupt. But, 9 approval was a big deal? |
10 Mr. Lenner, you said that in 1995 you knew that that's 10 MR. THOMAS: Objection, Your Honor. H
11 something the company might be doing, correct? 11 Leading. {
12 A. Yes. 12. BY MS. BITAR: :
13 Q. And that's -- is that why that question was 13 Q. Was it a big deal? 4
14 answered yes as to Number 22 on the inherent risk 14 A. Yes. :
15 questionnaire in 1995? 15 Q. And did the client act improperly? :
16 A. Yes. 16 A. Their action was certainly -- it was 4
17 Q. So why would this be a surprise to you, sir? 17 improper. if
18 A. The reason why it was a surprise was because 18 Q. And, in fact, you referenced that in this 2
19 the company failed to communicate to us that they were 19 memo where you say that at number one, "Informed client
20 going to or they did, in fact, include the financials in 20 of wrongdoing"? :
21  aprivate placement. As we just saw in the engagement 21 A. That's correct. I informed the client of dl
22 letter they were supposed to do that. 22 what they did was wrong. fi
23 Q. So what did you do? 23 Q. And they told you it was an oversight? ;
24 A. What I did is I contacted the company and I 24 A. Yes. F
25 25 ;

told them what they did was the wrong thing. I also

 

 

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MR. THOMAS: Objection. Leading and

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 28 of 45

21 (Pages 2946 to 2949)

 

     
  
  
 
 
 
 
 
 
 
 
 
 
  

 

   
  
   
  
  
  
  
   
   
  
  
  
  
 

Page 2946 Page 2948 #

1 hearsay. i Q. Now, if you had -- by taking the steps you

2 THE COURT: Sustained. 2° took were the financial statements corrected?

3 BYMS. BITAR: 3 A. Yes.

4 Q. Where is Mr. Pearlman today, Mr. Lenner? 4 Q. And is that another reason why you permitted

5 A. Mr. Pearlman passed away about five years 5 the financial statements to be used in connection with

6 ago. 6 the PPMs after the fact?

7 Q. Now, after you wrote this memo to 7 A. Yes. As we went through the procedures

8 Mr. Pearlman, what else did you do? 8 after the fact, and he informed the investors and it was

9 A. IJhad a conversation and I think I followed 9 the right procedure to be performed at the time, so he
10 up with a letter to Mr. Parlapiano about this 10 could include the financial statements in the private
11 wrongdoing. 11 placement memorandums for that year.

12 Q. And what did Mr. Parlapiano -- withdrawn. 12 Q. Mr. Lenner, if you didn't do anything would
13 I would like you to look please at Exhibit 13 __ those financials have been corrected?
14 67inevidence. Is this a memorandum that you wroteto § 14 MR. THOMAS: Objection, Your Honor.
15 Mr. Parlapiano or a draft that you wrote to 15 Speculative.
16 Mr. Parlapiano relating to the use of the private 16 THE COURT: Sustained.
17 placement memorandum? 17. BY MS. BITAR:
18 A. Yes. 18 Q. Mr. Lenner, why did you insist on correcting
19 Q. And what did you decide needed to be done? 19 _ the financial statements?
20 A. I decided that we needed to review the 20 A. Because it's necessary for the private
21 private placement. He needed to inform his investors 21 placement to have true and accurate information and if
22 that the private placement was incomplete. And also 22 the financial statements are missing a page, they're not
23 advised him to seek counsel as to the potential 23 true and accurate. So it's important for them to have
24 ramifications of omitting a page from the private 24 all the financial statement pages in the private
25 placement. 25 placement...

Page 2947 Page 2949 &

1 Q. And, to your knowledge, did he do that? 1 Q. Mr. Lenner, I'd like you to look at what's

2 A. Yes. 2 been marked Plaintiffs' Exhibit 3002 which is the 1996

3 Q. Why after the fact did you let the opinion 3 work papers, and in particular the A-67 form at page

4 go out without BDO's approval in advance? 4 1058.

5 A. It seemed -- as the memo indicates, it 5 MS. BITAR: May I approach the witness,

6 seemed to me that it was an oversight by Mr. Parlapiano. 6 Judge?

7 ~~ It just seemed that he -- it was my understanding that 7 THE COURT: You may.

8 he was just very sincere when he expressed to me that it 8 BY MS. BITAR:

9 was -- 9 Q. And I'll represent to you this is not the E
10 MR. THOMAS: Objection, Your Honor. 10 entirety of those work papers but it's a portion. And ;
11 THE COURT: Sustained. 11 if you turn to the green tab, please. Could you Ei
12 BY MS. BITAR: 12 identify that for the record? f
13 Q. Without telling us what Mr. Parlapiano said, 13 A. Yes. This is the form 867 entitled, :
14 did you believe that Mr. Parlapiano intended to deceive 14 "Pre-release review by SEC director or director of :
15 anybody? 15 accounting." e
16 MR. THOMAS: Objection, Your Honor. 16 Q. And was it your understanding that :
17 Speculation. 17 Mr. Pearlman was one of the associate directors of i
18 THE COURT: Rephrase your question. 18 accounting and auditing? }
19 Sustained. Rephrase the question. 19 A. Yes, :
20 BY MS. BITAR: 20 Q. Do you remember when Mr. Thomas was asking :
21 Q. Without telling us about any conversation 21 you questions he showed you the last paragraph of this :
22 you had with Mr. Parlapiano, after you spoke to 22 document that said this had to go to the SEC director :
23 Mr. Parlapiano did you believe it was an oversight on 23 _ for the first time a report is issued? 5
24 his part? 24 A. Yes. E
25 A. Yes, I did. Q. What's your u :

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 29 of 45

22 (Pages 2950 to 2953)

 

  

 
  
    
  
 

 

   

 

   
   

 

 

 

 

Page 2950 Page 2952
1 private placement memorandums? 1 __ opinion, did Mr. Parlapiano present corrected fmancial
2 A. That they would still need to go to the 2 statements for your review?
3 _ associate director of accounting and auditing. 3 A. Yes.
4 Q. And is that reflected in BDO's assurance 4 Q. I would like to direct your attention,
5 manual as well? 5 please, to BDO 280 -- I'm sorry, Exhibit 286-A in
6 A. Yes. 6 evidence.
7 Q. Now, this A-67 form, in connection with this 7 MS. BITAR: May I approach, Judge?
8 case, sir, have you reviewed all of the work papers for 8 THE COURT: You may.
9 subsequent years? 9 MS. BITAR: (Complies).
10 A. Yes. 10 BYMS.BITAR:
11 Q. And have you reviewed the billing records in 11 Q. This is a fax from Mr. Parlapiano to BDO.
12 connection with the 1998 audit and all subsequent years? {12 It will take a moment to get it on the screen. 286-A,
13 A. Yes. 13 please.
14 Q. Mr. Lenner, are there any other A-67 forms 14 (Technician complies.)
15 in the BDO work papers reflecting any technical advisor {15 Turning to the text of the fax, this is from
16 review of private placement memorandums? 16 Mr. Parlapiano to Gabe Duarte. Do you see that?
17 A. There are no such forms in the work papers. 17 A. Yes, dol.
18 Q. And in reviewing your -- the time records in 18 Q. And who was Gabe Duarte?
19 connection with these audits, did you notice as to 19 A. At that time Gabe Duarte was a manager who
20 whether or not Mr. Pearlman billed time in connection 20 _ was working on the audit of Bankest.
21 with his review of the private placement memorandums? § 21 Q. And the text reads, "Dear Gabriel:
22 A. Yes. He billed time for his review of this 22 Following is a draft form letter regarding our proposed
23 1995 private placement. 23 forwarding to 1997 BRFFC debenture subscribers of BDO's
24 Q. And Mr. Lenner, is there any other reference 24 entire audit report of BRFFC's operations for fiscal
25 to any other regional technical coordinator reviewing 25 1995. As per our conversation, we await BDO's comments
Page 2951 Page 2953 ff
1 any private placement memorandums in any subsequent 1 prior to sending out this letter and the attached 1995
2 = year? 2 audit report.” Did I read that correctly?
3 A. There is no evidence whatsoever on any 3 A. Yes.
4 review by any other person in any subsequent year. 4 Q. Was it your understanding that
5 Q. And if BDO knew its financial statement 5 Mr. Parlapiano presented the 1995 audit report as well
6 opinions would be included in PPMs would these forms 6 as aletter to the debenture holders which is attached
7 have been prepared? 7 when the opinion was reissued?
8 A. Yes. 8 A. Yes. It does.
9 Q. Now, Mr. Lenner, is it fair to say that both 9 Q. Now, Mr. Lenner, did you have a discussion
10 = the engagement letters and the assurance guide explain 10 with Dominick Parlapiano about the use of BDO's audited
11 the procedures to be followed when the auditor knows 11 financial statements going forward after this incident?
12 that the financial statement opinions are to be used in 12 MR. THOMAS: Objection, Your Honor. Hearsay
13 __ connection with private placement memorandums? 13 in the question.
14 MR. THOMAS: Objection. Leading. 14 THE COURT: Overruled. It's a yes or no.
15 THE COURT: Sustained. 15 THE WITNESS: Yes.
16 BY MS.BITAR: 16 BY MS. BITAR:
17 Q. Mr. Lenner, what do the engagement letters 17 Q. What did he say to you?
18 and the assurance guide say about the procedures to be 18 MR. THOMAS: Objection. Hearsay.
19 followed when an auditor knows that the financial 19 THE COURT: Sustained.
20 statement opinions are being used to sell securities? 20 MS. BITAR: Your Honor, I'm not offering it
21 A. Both sources of documents say that we have 21 for the truth. I don't think what Mr. Parlapiano --
22 to review the private placement memorandums and read the § 22 MR. THOMAS: Objection, Your Honor.
23 financial statements again. 23 THE COURT: Sustained.
24 Q. Now, getting back to this situation with 24 MS. BITAR: Your Honor, I'm offering it for
25 Mr. Parlapiano in 1997 relating to the 1995 audit 25 the witness's state of mind.
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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 30 of 45

Page 2954

 
  
    
  
    
   
  
    
   
   
   
   
   
   
   
   
   
   

23 (Pages 2954 to 2957)

Page 2956 &

 

 

    
  
   
   
   
   
   
   
  
  
   
   
   
     
      
      

1 THE COURT: I understand what you're 1 Did Mr. Mohr fill out this questionnaire
2 offering it for. Sustained. 2 identically to Mr. Aronson?
3 BY MS.BITAR: 3 A. For question 22 he did. Yes.
4 Q. Mr. Lenner, as a result of your conversation 4 Q. Now, do you remember when you were asked
5 with Mr. Parlapiano, did you believe that BDO's audited 5 questions by Mr. Thomas on the plaintiffs’ direct case
6 financial statements would be attached to any future 6 he asked you if these were important questions?
7 private placements? 7 A. Yes. °
8 A. No, they were not going to be attached. 8 Q. And you said they were important questions?
9 Q. Now Mr. -- we're done with that. Thank you. 9 A. Yes.
10 The 1996 questionnaire, inherent risk 10 Q. Were they important here?
11 questionnaire has the same language as the 1998 11 A. No.
12 questionnaire; is that right? 12 Q. Why?
13 A. Yes. 13 A. They were not important in this particular
14 Q. Who filled out the 1996 questionnaire if you 14 case because we had decided that we were going to, in
15 know? 15 1998, consider this a high risk engagement. When you
16 A. I believe it was Mr. David Aronson. 16 answer these questions based on the number of yeses,
17 Q. And was Mr. Aronson correct when he filled 17 based on the responses, it will -- the software will
18 out question 22 to state that he believed that the 18 generate a risk profile. And the maximum audit
19 private placement would be -- the opinion would be used 19 procedures that you will perform will be for a situation
20 to sell debentures? 20 when the company is deemed to be a high risk.
21 A. Yes, at that time he was correct. 21 Since we knew it was a high risk already, it
22 Q. What do you mean by that? 22 wasn't relevant at this point.
23 A. What I mean by that is when he was 23 Q. Let me ask you this question. The more
24 completing that form, it was just about that same time 24  yeses on the questionnaire -- now we've seen there's
425 that we were discussing this whole issue about the 25 about, what, 75 questions on that questionnaire?
Page 2955 Page 2957
1 improper use of the financial statements for 1995 and 1 A. At least, yes.
2 when he was conducting the 1996 audit, he was in the 2 Q. The more question yeses, the higher the
3 room, and he was aware and it was his understanding at 3 risk?
4 that point in time the financials -- 4 A. Basically.
5 MR. THOMAS: Objection. Speculation. 5 Q. Now, you have Exhibit 3003 in front of you.
6 THE COURT: Sustained. 6 That's the 1998 papers?
7 BY MS. BITAR: 7 A. Yes.
8 Q. Mr. Lenner, let me ask you this. Even 8 Q. Could you turn to page 180?
9 though you had an understanding that the financials 9 A. (Complies).
10 would not be used in the future, can you understand why 10 Q. It's at BDO 673. Could you identify this
11 Mr. Aronson at the time he was filling out that form 11 document for the members of the jury and could you blow
12 ~~ might think differently? 12 it up, please, Glenn?
13 MR. THOMAS: Objection, Your Honor. 13 (Technician complies.)
14 THE COURT: Sustained. 14 Now, let me ask you a question. This part
15 BY MS. BITAR: 15 of the document where it says audit risk matrix,
16 Q. When Mr. Aronson was filling out that form 16 inherent risk, what does this tell the audit staff about
17 =‘ in the beginning of June 1997, is that the point in time 17 how the questionnaire assessed the risk associated with
18 where BDO was dealing with Mr. Parlapiano and BRFFC §18 auditing Bankest where it says risk profile?
19 about the very -- about the fact that they had just used 19 A. Well, after answering all the questions in
20  BDO's audited financial statements in connection with a 20 the inherent risk questionnaire that we saw a few i
21 private placement memorandum? 21 minutes ago, the answer here would be M which stands for \
22 A. Yes. 22 medium risk. So the engagement has a medium risk level ;
23 Q. Nowlet's go back to the 1998 audit. Going 23 at this point. H
24 back to question 22. Question 22. 24 Q. This is relating to the inherent risk, is

 

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(Technician complies.)

   

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 31 of 45

24 (Pages 2958 to 2961)

 

    
   
 
 
 
 
 
 
 
 
 
 
 
 

Page 2958

  
   
   
 
 
 
 
 
 
 
 
 
 
 
 
 
 
   

Page 2960 &

 

    
   
  
 
 
 
 
 
 
 
 
 
   
  
 
 
 
 
 
 
   

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n fact, the

 

1 A. Correct. 1 knowledge we had is we had a private placement where
2 Q. And then we'll talk about the control 2 they attached non-audited or unaudited financial
3 strengths in a minute. But was there also an analysis 3 __ statements.
4 of the control strengths which is as a result of the 4 Q. And did BDO's work papers contain any
5 questions relating to the control strengths 5 _ private placement memorandum with any BDO audit opinions :
6 questionnaires? ‘6 attached?
7 A. Yes. There were a series of questions that 7 A. No. That's not in our files. We don't have ;
8 we also saw before that deal with the control strengths 8 it. a
9 and based on the responses that we received, and based 9 Q. And is that something that would routinely i
10 ~=on our analysis at that time, the control environment 10 be kept if, in fact, BDO had knowledge of that? i
11 strengths were deemed strong. And that's what the S 12 A. Yes. :
12 stands for. 12 Q. Is that the kind of thing you keep in the i
13 Q. It's right up here? 13 permanent file? ;
14 A. Yes. 14 A. Yes. i
15 Q. So when you have a medium inherent risk and 15 Q. Now, let's go to the 1999 inherent risk
16 _astrong control strength, what is the risk profile that 16 questionnaire to question 11. And the question reads -- ;
17 the audit risk matrix generates? 17 will you blow it up, please, Glenn? :
18 A. In this case it generated a low risk 18 (Technician complies.)
19 profile. So that's, as we spoke before, it's taking the 19 "Is there a risk of misstatement arising
20 inherent risks that are specific to the company, the 20 from a requirement to submit the financial statements to ;
21 software is matching the responses that we received and §/21 an existing or potential provider of finance?" Now, :
22 taking the control strengths, matching it and it's 22 what is the answer, sir?
23 coming up with an overall risk profile and in this case 23 A. No. i
24 it was low. 24 Q. And let's turn to the year 2000 IRC at BDO 4
25 Q. Now, what is this handwriting underneath 25 315-B. Can I have question 11 for that as well? :
Page 2959 Page 2961 §)
1 below? 1 Mr. Lenner, do you want me to give you hard copies or :
2 A. This is where we overrode the profile, 2 can you look at the screen? :
3 wanted to be more conservative and do more audit 3 A. This is fine. :
4 procedures so we considered the risk profile here to be 4 Q. And what's the answer in 2000, sir? i
5 high. 5 A. No. a
6 Q. So, Mr. Lenner, when you answered questions 6 Q. And could you please look at Exhibit 315-C i
7 from Mr. Thomas about that question 22 being important, 7 ‘in evidence and again could you highlight question 11?
8 is this the reason why it was not important in this 8 (Technician complies.) F
9 audit? 9 Same question, same answer, Mr. Lenner? :
10 A. Absolutely right. 10 A. Correct. :
11 Q. And do you remember Mr. Thomas asking you 11 Q. Now, let's go back to the 1998 form for a f
12 questions about if the answer to that question was 12 moment. We'll let technology catch up. Could youturn ff
13 reliable, do you remember that? 13 to question 31, please? Could you read that question Hi
14 A. Yes. 14 and that answer into the record? :
15 Q. In this instance where you're going to 15 A. Just one second. Question 31? ;
16 __ override and test as high, were you going to be relying 16 Q. Yes, sir. :
17 on that question? 17 A. The question reads, "Is there a risk of 4
18 A. No. 18 misstatement arising from a requirement to file the :
19 Q. Now, other than the reference in question 18 19 financial statements or submit them to a provider of ;
20 and question 22 to the use of BDO's audit opinion to 20 finance?" The answer is, "No." i
21 _ sell debentures in the 1998 work papers, is there any 21 Q. Now, Mr. Lenner, did that question change in :
22 other reference to BDO's -- to BDO's knowledge that the 22 subsequent questionnaires? i
23 client Bankest would be using its audit opinion in 23 A. Yes. cj
24 connection with the placement of debenture notes? 24 Q. Mr. Lenner, let me ask you this. What ;
A. No. We had no knowledge. I 25 :

   
  
 
   
  
 
   
 
   
 
  
 

questions in the 1999 and following questionnaires speak

 

    

 

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 32 of 45

Page 2962

25 (Pages 2962 to 2965)

    
   
 
 
  

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1 _ to the fundamental question about whether or not BDO 1 —_ understanding of the firm assurance guidance manual on
2 knew if its financials were being used to place debt? 2 this very question?
3 A. Ifyou could give me the 1999 -- now I need 3 A. Yes, it does.
4 the 1999 questionnaire. 4 Q. I'm done with all those documents.
5 Q. . Sure. I'm handing up to you 1999, 2000, and 5 MS. BITAR: Your Honor if I may, may I have
6 2001. 6  arestroom break?
7 A. That would be question 11. 7 THE COURT: All right. Do not discuss the
8 Q. Okay. Now, did the form change from 1998 to 8 case amongst yourselves. Step into the jury room.
9 1999? 9 We'll get you when we're ready.
10 A. Yes. 10 (Thereupon, the jury was escorted out of the
11 Q. And were the questions shortened? 11. courtroom.)
12 A. Yes. They were substantially shortened. 12 THE COURT: All right. Mr. Lenner, you're
13 Q. And were certain questions consolidated? 13 ‘not about to discuss your testimony with anyone
14 A. Yes. That was the case. 14 including any of the lawyers. Take 15 minutes.
15 Q. What do you understand question 11 in the 15 MS. BITAR: Thank you, Judge.
16 1999, 2000, 2001 financials -- I'm sorry -- inherent 16 (Thereupon, a brief recess was taken.)
17 _ risk questionnaires being designed to capture? 17 MS. BITAR: Your Honor, before the jury
18 A. They're being designed to capture questions 18 comes in, can we address an issue?
19 18 and 22 in the 1998 inherent risk questionnaire. 19 THE COURT: AI right.
20 Q. And what about question 31 in the 1998 20 MS. BITAR: With the Court's permission,
21 questionnaire? 21 ‘I'll stand here and then I think we can talk. Your
22 A. That, too. 22 Honor, I want to make sure I'm understanding something
23 Q. So, Mr. Lenner, what question in the 1999 23 about your milling and I want to raise why. I had a work
24 and following questionnaires replaces question 22 in the §| 24 paper on the screen with Mr. Lenner and it talked about
25 1998 questionnaire? 25 sending out --
Page 2963 7 Page 2965 ,
1 A. It's question 11. 1 MR. THOMAS: Your Honor, can we send the
2 Q. And what is the answer about whether or not 2 witness out?
3 BDO knew that its financial statements would be used to 3 MS. BITAR: I'm so sorry. You're right. I
4 place debentures in 1999, 2000, and 2001? 4 apologize.
5 A. The answer is no. We had no knowledge that 5 (Thereupon the witness steps down from the
6 they were being used as evidenced by our response to 6 witness stand.)
7 ~~ question 11. 7 THE COURT: Okay.
8 Q. And does that comport with your memory as to 8 MS. BITAR: Sorry. I want to keep this on.
9 the use of BDO's financials? 9 When Mr. Lenner was on the stand, I had an exhibit on
10 A. Yes. 10 the screen which was the audit program. And the
1i Q. And, Mr. Lenner, how do you know that 11 program -- I was focusing in on some steps about the
12  BDO's -- how do you know that question 11 effectively 12 decision to send or not send second confirms. And I was
13 _ replaced question 22 in the 1998 questionnaire? 13 asking the witness some questions about what NCN meant
14 A. Well, question 22 goes to does the entity 14 and not considered necessary and why it wasn't
15 have plans to raise finance using the financial 15 considered necessary.
16 statements. So that's something for the future. A plan 16 And I asked him -- I don't have the exact
17 is something for the future. 17 question but words to the effect of, well, Mr. Lenner,
18 Whereas question 11 in the second part of 18 when making the decision not to consider it necessary,
19 the sentence it goes, "Is there a risk of misstatement 19 — did you consider the standard that allows you to look at
20 arising from a requirement to submit the financial 20 prior history? Did you consider? And I thought that
21 statements to an existing or potential provider of 21 was the question I was allowed to ask. And Mr. Thomas
22 finance?" 22 objected and you sustained the objection.
23 So it's -- those last few words in question 23 THE COURT: I think it was more than that,
24 11 are clearly matched to question 22. 24 from my understanding.
25 2. Now, Mr. Lenner, does that comport with your 25 MS. BITAR: I don't believe so, Your Honor.
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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 33 of 45

Page 2966

But I will look at it this evening, if I may, and
revisit the issue with you.

THE COURT: I think it was more than just
that.

MS. BITAR: And I may be inaccurate and I
didn't look. But I just wanted to alert you to Your
Honor because, frankly, I don't know what I could do at
that point. And that's important. Because the only way
our expert can testify that these people did a GAAS
audit is to show that they knew the literature and
considered it.

THE COURT: Well, we'll look at it and bring
it up tomorrow. I'm sure you're not going to finish.

MS. BITAR: I'm nowhere near finished. My
second question relates to the hearsay objection on
Mr. Parlapiano. Judge, we're not offering this
information for the truth, we're offering it to show
what the auditors were-told.

THE COURT: If you ask the proper question
for the second question.

MS. BITAR: I don't know what the second
question --

THE COURT: Whatever it was, it was the
proper question to ask and there was no objection. If
it was objectioned to, it would have overruled.

Page 2967

MS. BITAR: Well, then, you know what? I'll
try to do it again and I'll look at the transcript.
Thank you, Judge.
THE COURT: Okay. We're ready?
(Thereupon, the witness takes his seat at
the witness stand.)
THE BAILIFF: All rise for the jury.
(Thereupon, the jury was brought into the
courtroom.)
THE COURT: You may be seated.
Ms. Bitar, you may proceed with your direct.
MS. BITAR: Thank you, Your Honor.
Good afternoon. Good afternoon, members of
the jury.
BY MS. BITAR:

Q. Mr. Lenner, before the break we were talking
about the inherent risk questionnaire and the control
strengths questionnaire. I'd like you to turn to BDO
3003, Exhibit 3003 at Bates stamp 663. It's 170. We're
going to go through this briefly. But I just want to
give some examples of what BDO views as control
strengths.

So this is the control strengths
questionnaire, correct?

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A. Yes, it is.

 

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26 (Pages 2966 to 2969)

    
  
 
 
   
 
  
 
 
 
 
 
 
 
 
 
 
  
   
  
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 

Page 29688

Q. Okay. And the first question reads
“Business strategy objectives and organization. 1) Does
the board of directors or equivalent have well-defined
business plans, policies, and objectives, regularly
monitor the entity's performance against them and take
action on a timely basis?" The answer is yes. And the
narrative reads "The directors are involved in the
business day-to-day operations."

Do you see that?

A. Yes.

Q. The next question reads "Does the board of
directors or equivalent regularly monitor the entity's
exposure to general business risk and ensure that the
exposure is kept within well -- within established
limits?" The answer is yes. And the justification is
"The board closely monitors the company's exposure on a
regular basis."

A. Yes, I see that.

Q. The next question talks about if the board
encourages a strong control environment. And it
indicates that the directors and management have close
supervision of all aspects of the business, correct?

A. Yes.

Q. The next question asked if the board or
equivalent established and communicated to employees

Page 2969f

policies regarding acceptable business practices,
conflicts of interest, and codes of conduct. And again
the answer is yes. And the justification "The board is
in communication with employees on a daily basis.
Policies are in place regarding acceptable business
practices," et cetera.

Mr. Lenner, why are questions like this and
the answers elicited control strength within an
organization?

A. Because it shows the board and management's
involvement in running the business. It basically shows
that they respect the policies and procedures. They
understand them and they advocate those types of
policies and procedures which are specific for a
well-run business.

Q. And why would the involvement of the board
be considered a control strength in an organization?

A. Well, the board has the most knowledge of
the organization. What was very interesting in this
situation is you had a very broad board here. You had
four board members that were from the E.S. Bankest side,
and then you had four board members that were appointed
by the Florida bank. And you had well-seasoned bankers,
people that understood the factoring operations. So it
would effect a control strength to have that knowledge,

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 34 of 45

 

 

 

27 (Pages 2970 to 2973)
Page 2970 Page 2972
1 to have those kind of quality people involved in the 1 (Technician complies.)
2 company. 2 BYMS.BITAR:
3 Unlike -- just to give you an example -- a 3 Q. Itsays "Additional inherent risk and
4 couple of years when there were dotcoms and you would 4 control strengths questions." Did BDO modify its
5 have a lot of young people running large businesses that 5 procedures in assessing internal risk and control
6 didn't have the experience such as these people had at 6 strengths in light of considerations in SAS 82?
7 ~~ that point in time. 7 MR. THOMAS: Objection, Your Honor.
8 Q. Mr. Lenner, let's go -- in the planning 8 THE COURT: Hold on. Sustained.
9 section to BDO 643, which is another form that's filled 9 BYMS.BITAR:
10 out, entitled Consideration of Fraud Risk and Evaluation 10 Q. Mr. Lenner, did you take any steps to do
11 of Control Structure. And it's a supplemental to the 11 additional analysis of inherent risks and control
12 full inherent risk and control strengths questionnaires. 12 _ strengths as a result of the implementation of SAS 82?
13 Do yousee that, sir? 13 MR. THOMAS: Objection. Your Honor.
14 A. Yes. 14 THE COURT: Overruled.
15 Q. And Mr. Lenner, this form provides guidance 15 THE WITNESS: ‘Yes, we did. We --
16 ‘to help the auditors discharge their responsibilities to 16 THE COURT: It's a yes or no.
17 assess fraud risk, correct? 17 THE WITNESS: I'm sorry. Yes.
18 A. Yes, it does. . 18 BY MS. BITAR:
19 Q. And does this form and the questions that 19 Q. And are some of the steps you took reflected
20 you need to evaluate consider the literature regarding 20 in the answers to the A 82 fraud risk questionnaire?
21 fraud and fraud risk in an organization? 21 A. Yes, they are.
22 A. Yes, it does. 22 Q. And was that a direct response to the
23 Q. And what does the relevant literature with 23 implementation of the SAS 82 literature?
24 respect to the evaluation of fraud risk in an 24 MR. THOMAS: Objection, Your Honor.
25 organization? 25 THE COURT: Sustained.
Page 2971 Page 2973 fh
1 A. It's SAS 82, as indicated right in the 1 BY MS. BITAR:
2 document on the screen. 2 Q. Now, Mr. Lenner, I'd like you to look,
3 Q. SAS 82 is consideration of fraud in a 3 please, at BDO 655. We've been discussing Bankest as a
4 financial statements audit, correct? 4  quote/unquote sensitive audit. Do you recall that
5 A. Yes. 5 testimony?
6 MS. BITAR: Blow that up, please. 6 A. Yes.
7 (Technician complies.) 7 Q. Why was BDO's audit of Bankest in 1998
8 BY MS. BITAR: 8 viewed as a sensitive audit?
9 Q. And this is called the A 82 form, correct? 9 A. Primarily for the reason that's indicated j
10 A. Yes. 10 right on this form. That it's an entity that's a
11 Q. And is it your understanding that the 11 publically owned or a member of a group containing a :
12 questions that are discussed in this form mirror the 12 _ publically-owned entity. :
13 literature in SAS 82? 13 Q. Thank you, Mr. Lenner. :
gi4 A. Yes, they do. And that's why this form was 14 Now, Mr. Lenner, we talked about the audits :
15 put out by BDO, so it could incorporate the guidance 15 of BRFFC, correct? :
16 from SAS 82 at that time. 16 A. Yes. :
17 Q. And did you consider the guidance reflected 17 Q. And Bankest was created in the middle of ‘
18 in SAS 82, consideration of fraud risk in an audit, when §—18 1998, correct? :
19 doing your audit of Bankest? 19 A. Yes.
20 A. Yes, I certainly considered SAS 82. 20 Q. The last audit of BRFFC was done sometime in
21 Q. And Mr. Lenner, going to page 152 of the 21 1997 relating to 1996, correct?
22 document, it’s 645. As a result of the implementation 22 A. That is correct.
23 ~=of SAS 82-- 23 Q. Turning to Bankest, when Espirito Santo Cy
24 MS. BITAR: [I'll let you get that on the 24 Bankest was formed, did you understand it to be the same
25 screen. 25 company as BRFFC?

 

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 35 of 45

28 (Pages 2974 to 2977)

 

 

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Page 2974

A. Basically, it had the same -- it was the
same business but it was different ownership.

Q. And in what respect was it different
ownership?

A. 50 percent of the business, E.S. Bankest,
was owned by BCC and the other 50 percent was owned by
the Florida bank.

Q. And why was the -- was the Florida bank --
the fact that Espirito Santo Bank of Florida was going
to be a 50-percent owner now, was that something that
was something you considered when planning the 1998
audit?

A. Yes. That is clearly a control strength to
have individuals that are put there from the Florida
bank that have a wealth of experience and knowledge of
banking and that come from a banking environment. We
were very happy to see those kinds of individuals being
on the board of the new entity. .

Q. And did you understand that the bankers on
the board of E.S. Bankest had considerable banking
and/or factoring experience?

A. Yes.

Q. Now, we talked about inherent risk. And we
talked about a jewelry store being more susceptible of
misappropriation or stealing of assets than, I think you

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Page 2976

and do more audit procedures. So it was a decision that
we made at that time to perform additional audit
procedures and to elevate it to a high risk.

Q. Now, we talked about the planning. What
happens after you make determinations about the control
strengths and the inherent risks and the amount of
testing you're going to do? What's the next step in
conducting an audit?

A. Okay. In addition to what you said, there's
looking at the risk profile, which we saw before the
break. And after you understand what the risks are,
then you design your audit program. And the audit
program are the steps that you plan to carry out to
achieve your stated objective, which is eventually
expressing an opinion on the fairness of the financial
statements.

Q. As part of that planning, do you make a
determination to analyze the risks associated with each
financial statement area like cash, accounts receivable,
accounts payable, et cetera?

A. Yes. What we do is we look at the entire
balance sheet and we determine what is significant. And
based on the accounts that we determine that are
significant, we then have an audit program for each
area, and we apply specific audit procedures to each

 

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Page 2975

said, a mattress store. Where does a company like
Bankest fit into that equation? Did you view accounts
receivable as automatically an inherent -- as an
inherently risky business?

A. No.

Q. Why?

A. Well, first of all, they owned the
receivable. They had it in their possession, which was
each invoice. Secondly, the receivables that they
purchased were insured for solvency. And thirdly, the
receivables that they purchased had what's called the
right of recourse.

Q. What does that mean, sir?

A. Which means that if one of the receivables
they purchased, the customer was disputing it because
there was the wrong color of blouse or the wrong size
was being shipped, then the client would have the
responsibility and the obligation to replace that
invoice with another invoice.

Q. So let me ask you this. If based on the
nature of the business, BDO did not consider a factoring
company inherently high risk, why did you do the manual
override to test it as if the risk was high?

A. It was the first year that we were doing --
performing this audit and we wanted to be conservative

 

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Page 29779

area.

Q. And when we look at that grid where there
was the handwritten manual, HHHHH, are there similar
analyses for all of the various financial statement
areas?

A. Yes. For the most part, every balance sheet
account will have that type of grid, as well as some
other accounts will also have it.

Q. Now, referring to Bankest, what did the
audit team determine to be the area of the most audit
significance?

A. Well, it's obviously the accounts receivable
that was the most audit significance for this audit.

Q. And is that because the accounts receivable
constituted so large a portion of the assets of the
company?

A. Yes. It was over 95 percent of the total
assets for that year and subsequent years.

Q. And where is the work that was done relating
to the accounts receivable found in the work papers?

A. Well, what we have in the work papers is
each audit area or each account that we've looked at,
including accounts receivable, there will be a section.
They'll have an audit program. And behind the audit
program, we'll have audit work papers which documents

    
 
Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 36 of 45

29 (Pages 2978 to 2981)

 

 

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Page 2978

the audit evidence that we have examined in reaching a
conclusion as to each account.
Q. So if the jury at the end of this case wants
to go in the jury room with the work papers, they'll be
able to look through and see the work performed in each
of these areas?
MR. THOMAS: Objection, Your Honor.
THE COURT: Sustained.
BY MS. BITAR:
Q. Is the work performed contained in the work
papers?
A. Yes, it is.
Q. And in each year, are the C section work
papers the work papers relating to accounts receivable?
A. Yes.
Q. And is the X section the planning section?
A. Yes.
Q. And the work papers are laid out similarly
each year; is that correct?
A. Yes.
Q. Let's turn to the C section work papers,
then. Again, this is BDO 3003. Let's start the first
page which relates to the audit program with respect to
accounts receivable. That's at BDO 857.
MS. BITAR: And Glenn, it's 371.

Page 2979

(Technician complies.)
BY MS. BITAR:

Q. The first step of the audit program requires
you to develop a general understanding of the accounts
receivable, correct?

A. Yes, it does.

Q. And that's reflected in A general?

A. That is correct. And that would include
redoing the business memo, any narratives. It would --
reviewing the history of the client that would be in our
permanent files. So that would be performed in the
beginning of each audit.

Q. And the second thing reads to understand --
to ascertain an understanding of the system, you're to
provide a walk-through. What does that mean?

A. A walk-through is basically when you walk
through the system to make sure that the transactions
are being recorded to comport to your understanding as
to how the system of internal accounting control for
that particular account is working.

Q. And then it talks about later down in the
program that you need to ascertain that the sales of
items shipped or services rendered are properly
recorded. Do you see that?

A. Yes.

 

 

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’ Foot means to add them up. You review the postings in

     

Page 2980 8

   
  
  
  
   
  
  
  
  
  
  
  
  
  
  
 

Q. Okay. And what does that require the audit
team to do?

A. Well, there are various steps there that
require you to look at the invoices, to examine the
invoices, to foot some of the companies's schedules.

the general ledger. Postings are entries that go into a
general ledger. That would be like I'm looking at
step 3, which is just reviewing the accounts receivable
and general ledger accounts. So you're looking inside
the books.

Q. And turning to the next page, it talks
about -- and this is at E. ''Ascertain the propriety and
collectability of account receivable balances."" Do you
see that, sir?

A. Yes, Ido.

Q. And what is the objective of the test
performed under section E relating to accounts
receivable?

A. Well, propriety means you want to ascertain
that the account exists, it's proper. And
collectability for an account receivable means you want
to determine that it was collected. It became cash.

Q. And are those some of the financial
statement assertions you need to audit when conducting

Page 2981}

an audit of a company like Bankest?

A. Yes. In particular, that's the existence
assertion where we want to make sure that the
receivables and the other information here exist.

Q. And to explain how these markings work, do
these notations, the C-1 or C-2, relate to specific
sections of the C section work papers where those steps
performed are listed?

A. Yes. It's kind of like an index or table of
contents. So the column on the far right that has work
paper reference, that would indicate the author or the
preparer of the work paper. So if you went to that work
paper, you could see the work that's being performed.
And to the left of that column are the initials of the
person that's performing that particular task.

Q. Briefly discussing the types of steps you
need to perform to make a determination about the
propriety and collectability of the accounts receivable,
could you explain what these steps require? For
example, testing the footing of the listings,
reconciling the balance of the general ledger, and
summarizing the scope for confirmations requests.

A. Well, it's -- as far as the first step is
very basic step. Testing the footing of the listing.

You want to make sure that what you received is

 

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 37 of 45

30 (Pages 2982 to 2985)

 

Page 2982

  
  
  
   
  
  
  
  
  
  
  
   
  
  
  
 

 

 

 

 

 

  
   
   
   
   
   
  
   
  
  
  
  
  
  

Page 2984 :
1 accurate. So you add it all up. The second step, 1 were sent as reflected on the planning document?
2 _ reconcile the balance of the general ledger. The 2 A. Yes, I did.
3 balance means the schedule that you are auditing. The 3 Q. And what did you ascertain, sir?
4 audit evidence that you are auditing, you want to make 4 A. That in the files we have duplicate
5 sure it agrees to the general ledger. 5 confirmations, means we have two copies of the same
6 The general ledger is basically the document 6 confirmation that was sent to a customer. Which
7 ~~ that is maintained by the client or the company that 7 indicates to me, seconds were sent.
8 records all of the cash in, all the cash out, all the 8 Q. And we started off your testimony after
9 expenses. It's the whole history of the company. So 9 _ Junch with a notation in some subsequent audit plans for
10 you want to make -- and that is you want to make sure 10 the C section work papers where there was a
11 ‘that what you have and what you're working with agrees [}11 determination that sending out a second confirm was not
12 to that general ledger. 12 considered necessary. NCN. Do you remember that?
13 Q. And the general ledger is a client-created 13 A. Yes.
14 document? 14 Q. Why did you think it wasn't considered
15 A. Yes, itis. And also what's in this section 15 necessary in some prior years audits?
16 __ is dealing with confirmations, sending out 16 A. After we had the experience of not receiving
17 confirmations, and monitoring the replies to the 17 response to the seconds, we determined that it wasn't
18 confirmations. 18 necessary to send out the seconds after we had two years
19 Q. Do you see here at section I it says -- I'm 19 of history of no response.
20 sorry. Maybe it's not I. F rather. ''Send out second 20 Q. Now, Mr. Lenner, are you familiar with the
21 requests on positive confirmations for which no reply 21 GAAS standards relating to the confirmation process?
22 was received."’ Do you see that? 22 A. Yes.
23 A. Yes, Ido. 23 Q. Did you consider whether the standard allows
24 Q._ First of all, what do you mean -- what's a 24 you to take prior history into account when changing
25 positive confirmation? 25 your procedures?
I Page 2983 Page 2985
1 A. A positive confirmation is a -- basically, 1 MR. THOMAS: Objection, Your Honor.
2 it means when you send a confirmation which is a letter, 2 THE COURT: Sustained. Rephrase your
3 you want that third party to confirm back to you that 3 question.
4 they are in agreement or not in agreement with the 4 BY MS. BITAR:
5 amount that you're seeking the confirmation. It's 5 Q. Mr. Lenner, in making a decision to not send
6 compared to just -- to take the (inaud.) all the way 6 second confirms in subsequent years, did you consider
7 through real quick -- to a negative confirmation, where 7 the literature that addresses the confirmation process
8 you send it out and you did not expect a response. But 8 that permits you te change your procedures based on
9 in this case we used positive confirmations. 9 prior history?
10 Q. And it says that that step was done. Do you 10 MR. THOMAS: Objection, Your Honor.
11 see that? 11 THE COURT: Sustained.
12 A. Yes. 12 MS. BITAR: Your Honor, may we have a side
13 Q. How do you know that step was done, 13 bar?
14 Mr. Lenner? 14 THE COURT: No. Rephrase your question.
15 A. Because the individual that signed this work 15 BY MS. BITAR:
16 paper stated by his signature that he performed that 16 Q. Mr. Lenner, in performing your audit
17 step. 17 procedures in connection with the 1998 audit, did you
18 Q. And you reviewed these work papers in 18 consider the literature that speaks to reviewing prior
19 connection with this case, correct? 19 history of a client in conducting subsequent procedures? ||
20 A. Yes. 20 A. Yes. e
21 Q. And did you review them also at the time? 21 Q. Let's turn to the next page of the document, :
22 A. I certainly did. 22 _ please. This talks about evaluation of collectability :
23 Q. But separate and apart from that, in 23 of receivables. And collectability is something :
24 connection with this case, did you review the work 24 different than existence, right? ,
25 papers to determine as to whether or not second confirms [25 A. Yes. }
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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 38 of 45

31 (Pages 2986 to 2989)

 

 

Page 2986 Page 2988 §
1 Q. What's the difference? 1 a discussion with management if it doesn't reach your
2 A. Collectability means that the receivable 2 expectation.
3 is -- you realize cash for the receivable. It converts 3 Q. And then in the last thing it talks about is
4 toa cash asset. 4 "To discuss the collectability of accounts with a
5 Q. And why is collectability important? 5 responsible official considering possible overall effect
6 A. It is important because it proves the - 6 of the economy, customer's ability to pay,” et cetera.
7 existence assertion. If someone pays you, that means 7 ~~ Why is that important?
8 they're paying for an invoice that existed. 8 A. That's important because at any point in
9 Q. And how do you evaluate the collectability 9 time not all the receivables would be collected. Some
10 of receivables when auditing Bankest? What do these 10 people might pay beyond 90 days, beyond a hundred days.
11 steps require the auditor to do? 11 — And you want to understand what that company is doing to
12 A. It requires you to look in January, look in 12 collect the receivables. What kind of communications do
13 February, that's the period after the end of the year, 13 they have with the customers or with the clients in this
14 ~~ which is December 31, and examine invoices and customer 14 case to see that the receivables will be, in fact,
15 checks and remittances to verify that collections were 15 collected at some future time.
16 received. 16 Q. And if those receivables are not
17 Q. This section of the work papers references 17 _ collectable, are they written off as assets?
18 comparing percentage of delinquent accounts, number of 18 A. What happens is if you have doubt as to the
19 days, sales and accounts receivable, the total returns 19 __ collectability of a receivable, then what you do is you H
20 and allowances, and debt that's written off for those 20 would suggest to the company or you do what's called ;
21 ___ prior periods. What does that mean, sir? 21 propose an adjustment to write-off or to reserve those :
22 A. That's basically in a -- called a 22 __ particular accounts receivable. That would mean you
23 substantive analytical procedure as we look at 23 would take an allowance and you would estimate what you i
24 relationships between the various components of a 24 think might not be collected. And that's something that ;
25 particular account. In this case you'd be locking at 25 you would record because you want to record receivables u
Page 2987 Page 2989 i
1 __ the various components that relate to accounts 1 based on what you expect to collect. ;
2 _ receivable, such as bad debts written off or delinquent 2 Q. And are those steps that the BDO engagement
3. accounts or the number of days. Those are Jooking at 3 team performed when reviewing the collectability and
4 relationships. 4 existence of accounts receivable?
5 Q. And why is looking at relationships 5 A. Yes.
6 important when making a determination about the 6 Q. If you turn to the very end of the document
7 ~ existence of accounts receivable? 7 it says, ''Conclusions on year-end balances and sales and
8 A. You have certain expectations. You have 8 trade receivables." You see that?
9 certain history to consider. And if the relationships 9 A. Yes.
10 that you look at match your expectations or match your 10 Q. Now, Mr. Lenner, is there a conclusion
11 history, then you can conclude that the accounts do 11 _ section at the end of every planning memo with respect
12 exist. It’s an additional procedure that's used in 12 to each of the balance sheet items?
13 conjunction with your basic procedure, such as looking 13 A. Not only is there a conclusion for every :
14 at invoices, looking at customer collections. It's 14 planning memo, there is -- this is an audit program :
15 something that you use together to reach a conclusion as 15 which is our plan procedures for every, single, major F
16 to the fairness of the particular account that you are 16 account. We have these audit steps that you've seen one 4
17 auditing. 17 example of and we have this conclusion there too. It's iy
pie Q. Let's look at E. It says, "Turnover ratios 18 signed off. ’
19 and obtain management explanation for unusual 19 Q. And so it says, "Based on the result of work ;
20  fluctuations."" What kind of analysis does that entail, 20 performed, it’s my opinion that the trade receivables :
21 and why is it important? 21 and sales" -- that's the accounts receivable here, }
22 A. That would entail looking at the receivables 22 correct? ;
23 as to how many times they are collected in a particular 23 A. Yes. :
24 year over a 12-month period. You would expect it to 24 Q. --"are properly classified and stated in :
25 turn over a certain number of times. And then you have accordance with Generally Accepted Accounting Principles

 

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 39 of 45

32 (Pages 2990 to 2993)

 

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Page 2990 Page 29925

1 ona consistent base and that those receivables 1 where the actual work is being performed that relates to

2 _ represent bona fide receivables." 2 the narrative of the work paper?

3 Did I read that correctly? 3 A. Similar context to a program, a reference.

4 A. Yes. 4 Like an index, it's a reference to where the work was

5 Q. And that's something each auditor has to 5 _ being performed.

6 individually sign off on? 6 Q. And again, is this to create an audit trial

7 A. That's correct. 7 so that you can understand years later what steps were

8 Q. And was that done here, sir? 8 performed?

9 A. Yes. That was signed by Mr. Rivera, myself, 9 A. Exactly. It's there to document that the
10 and Mr. Ellenburg. Those are the three signatures that 10 work that was performed at the time is -- was performed.
11 are on this page. 11 And in this case it was performed in February of 1999.
12 Q. Turning to the next page of the document, 12 Q. Now, if you go to the next page, this is
13 just describe what a lead sheet is, sir. It says lead 13 something that says PBC. That's prepared by client?
14 sheet on top. 14 A. Yes, this is an aging analysis. It
15 A. A lead sheet is a summary of the account. 15 basically lists all of the customers of E.S, Bankest,
16 It's coming from the general ledger. What we do is we 16 and it just lists them and then ages them. And we were
17 ‘import electronically the information from the general 17 ~ able to review the aging and review the customer base by
18 ledger into our software so we have these lead sheets. 18 looking at the next few pages.
19 Q. Now let's go to the next page of the 19 Q. Now, let's go to BDO 870, where it says A/R
20 document. This is a memo from Mr. Rivera and an Alain §§| 20  circularization.
21 _ Steiselboin to the files. 21 MS. BITAR: It's at 384.
22 A. That's correct. 22 (Technician complies.)
23 Q. Can you identify what that document is, sir? 23 MS. BITAR: Can we blow up the document,
24 A. This is a memo that -- that supplement the 24 please?
25 audit programs. It explains in a little more details 25 (Technician complies.)

Page 2991 Page 2993

1 the procedures that are performed by Mr. Rivera and 1 BY MS. BITAR:

2 Mr. Steiselboin. 2 Q. I think we've seen that document.

3 Q. And it talks about the fact that certain 3 Mr. Lenner, what is a circularization

4 confirmations were sent and received; is that right? 4 summary?

5 A. Yes, it does. 5 A. This is a summary of the various customers

6 Q. And it talks about review of certain 6 of E.S. Bankest, and it ties into our lead sheet. And 5

7 collections, correct? 7 it also indicates -- it's a summary of supporting the E

8 A. Yes. It gives an overall picture to the 8 information that we saw in that memo as well as -- it's :

9 reviewer. In this case, it says in the first paragraph 9 _ like if you look in the first or the second column, it :
10 that we confirmed two confirmations. We got back two. 10 shows that $15 million was confirmed. And then in the :
11 A total of a little over $15 million. And in addition 11 second column it shows that we examined subsequent :
12 to that, we obtained from the client a listing of the 12 receipts -- which is the actual cash coming in -- of a
13 collections through a particular point in time -- which 13 little over $7 million. And then we performed some i
14 is February 12th in this memo -- and we examined about §.14 other procedures in the third column. So those columns :
15 $10 million. 15 denote the types of procedures that we performed in ;
16 And in the second step goes on to talk about 16 summary form. :
17 additional tests that we did to test the accounts 17 Q. So does this work paper reflect the various i
18 receivable. And in this case, we were testing the aging 18 tests that were performed to conclude the existence of
19 to see that the invoice dates on the invoice were the 19 the accounts receivable? E
20 same invoice dates that are being used in the company's 20 A. Yes. And in a nutshell, it basically :
21 aging analysis or aging reports. So that is with a 21 puts -- it summarizes the procedures. It summarizes the |.
22 test -- those are the tests that we performed and it's 22 numbers and the procedures that we performed. :
23 just summarized in a memo. 23 Q. Now, when it says amount confirmed, you see ;
24 Q. And when there are references to other 24 that in the first column? F

sections in the work papers like C-10 or C-12, is that 25 A. Yes. E

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 40 of 45

33 (Pages 2994 to 2997)

 

 

Page 2994

Page 2996 E

   
  
  
   
  
  
   
  
  
  
  
  
  
  
  
 

 

 

 

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1 Q. From looking at this work paper, do you 1 collections. And it goes to list some of the customers
2 _ understand how those account balances were confirmed? 2 and the invoices that were paid by the customers.
3 A. Yes. 3 Q. Mr. Lenner, do you now know that CD Jewel
4 Q. How was that, sir? 4 Box was a sham company of Dominick Parlapiano?
5 A. A confirmation was sent out to the clients 5 A. Inow know that.
6 in this case and they responded back that they were in 6 Q. Do you now know that Jay Kossoff was
7 agreement with the accounts receivable balances on the 7 Dominick Parlapiano?
8 books of E.S. Bankest. 8 A. I became aware of that during the course of
9 Q. And that references -- there's a reference 9 these proceedings.
10 in the work papers to C-14 and C-6. Do you see that? 10 Q. And at the time, did you have any reason to
il A. Yes. 11 doubt that Jay Kossoff at CD Jewel Box was an actual
12 Q. Does that mean that that's where those 12 person at a righteous company?
‘13. confirms are maintained in the work papers? 13 A. No.
14 A. Yes. 14 Q. Going back to BDO 334, the circularization
15 Q. Let's try to find one just so we can show 15 summary we looked at before we actually looked at the CD
16 the jury what that confirm looks like. Can you go to 16 Jewel Box confirm, going to the -- we talked about the
17 BDO 881? 17 accounts -- the amounts confirmed. And there's a
18 A. Yes. 18 reference to the CD Jewel Box confirmation. Do you know
19 Q. And -- 19 what the other confirmation was in the 1998 work papers,
20 MS. BITAR: Let's just get it on the screen. 20 sir?
21 (Technician complies.) 21 A. Yes. That was Perry Baromedical, I believe.
22 MS. BITAR: Can you blow up the first 22 Q. And that's located at C-14?
23 paragraph, Glenn? 23 A. That's correct. If you go to work paper
24 (Technician complies.) 24 (C-14, you will see the confirmation from Perry.
25 BY MS. BITAR: 25 Q. And then it talks about subsequent receipts.
Page 2995 Page 2997
1 Q. Now, this is a confirm to CD Jewel Box; is 1  Doyousee that? That's the next column, right?
2 that right? 2 A. Yes.
3 A. Yes. 3 Q. What does subsequent receipts mean in this
4 Q. Was CD Jewel Box a customer or a client of 4 context? ,
5 Bankest? 5 A. Those are the receipts that are received in
6 A. A client of Bankest. 6 January, February, after the end of the year, that
7 Q. And did CD Jewel Box send back this 7 are -- that relate to the accounts receivable that
8 confirmation reflecting the amount of accounts 8 exist. So it's showing what came in after the end of
9 receivable at December 31st? 9 the year as an additional proof of the existence of
10 A. Yes. 10 _ those receivables.
11 MS. BITAR: Could you blow up the bottom 11 Q. Now, Mr. Lenner, we've seen a lot of the
12 part of that confirm, please. 12  (C-10 work paper.
13 (Technician complies.) 13 MS. BITAR: Mr. Thomas, with your
14 BY MS. BITAR: 14 permission, can I just show this to Mr. Lenner for a
15 Q. Could you explain what -- how this 15 moment?
16 confirmation process works, Mr. Lenner? 16 MR. THOMAS: Sure. You got it?
17 A. In the first sentence, which is the typed 17 MS. BITAR: Yeah.
18 sentence on that blowup -- actually, it's in the middle 18 BY MS. BITAR:
19 of the page, Mr. Kossoff is confirming that $7.5 million 19 Q. You see that, sir?
20 is correct and represents accounts receivable that were 20 A. Yes.
21 _ sold and transferred to Bankest Capital for certain CD 21 Q. And are the listed customers on the C-10
22 Jewel Box customers. In addition, he gives supplemental §22 work paper reflected on the circularization summary?
23 information indicating that according to his records, 23 A. Yes.
24 he's telling us that subsequent to year-end, he made the 24 Q. Let me ask you a question. For example, DBI
25 following -- he remitted the following customer 25 Financial, that's number 10 --

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 41 of 45

 

 

34 (Pages 2998 to 3001)
Page 2998 Page 3000
i MS. BITAR: I don't need that on. I want to 1 did the BDO audit team go to outside technical support
2 keep the circularization on. _2 at BDO to make sure that the sampling was done
3 (Technician complies.) 3 correctly?
4 BY MS. BITAR: 4 A. Yes. We frequently obtained the approval of
5 Q. Ifyou go down to number 10, DVI Financial, 5 _ these people, of these national experts, to assist us in
6 you see that? 6 sampling in other areas in this audit.
7 A. Yes. 7 Q. And Mr. Lenner, there's something called a
8 Q. That was a Perry customer, correct? 8 statistically reliable sample. Did you hear some
9 A. Yes. 9 discussion about that in the course of this trial?
10 Q. And Perry confirmed that accounts receivable 10 A. Yes.
11 _ by virtue of a confirmation, correct? 11 Q. What is that and why is that important?
12 A. Yes. 12 A. It's important to make a statistical sample
13 Q. And yet you still looked at the subsequent 13 so your sample has an equal chance of being selected
14 collection from DVI, correct? 14 from the entire population. Because the sample -- if
15 A. That's correct. 15 you look at a few items, you want it to be
16 Q. Did you need to do that if you already got a 16 representative of the total population. So by achieving
17 confirmation from the client Perry Baromedical? 17 astatistical sample, then you reach that goal of
18 A. No, it was not necessary. We already 18 getting a sample that's statistically sound.
19 received confirmation that the receivable exists, but we 19 Q. And when you say statistically sound, what
20 did an additional procedure. It was our first year and 20 does that mean?
21 we did a little more than what we normally would do. 21 A. That means it's based on certain parameters
22 Q. So, Mr. Lenner, is it fair to say you didn't 22 that the firm uses, as well as it's just based on
23 even have to go to alternate procedures as it related to 23 sampling history and sampling knowledge that the audit
24 those customers where the client confirmed the 24 team has, as well as what's in the audit manual and
25 outstanding balance, correct? 25 what's in the literature.
Page 2999 Page 3001
1 A. Yes. 1 Q. Can you go to BDO 875 at 389?
2 Q. Let's go to the next page of the -- after 2 A. (Complies.)
3 the circularization summary. And this talks about a 3 Q. This says, ‘Substantive test sample size
4 substantive test sample size guide. What kind of 4 guide." Does this document reflect the type of analysis
5 information is conveyed in this work paper? 5 that goes into a determination about sampling the
6 A. This work paper just assists us in 6 population?
7 determining our sample size that we would determine for 7 A. Yes, it does.
8 purposes of auditing these receivables. 8 Q. And when you say statistically reliable
9 Q. Now, we talked before about the engagement 9 sample, once a determination is made that you have a
10 —_ letters and that an audit is a sampling, correct? 10 _ statistically reliable sample based on this matrix, are
11 A. Yes. 11 you allowed to take from that the result for the entire
12 Q. And when conducting audit procedures related 12 population?
13 to sampling, does BDO use a specific -- various types of 13 A. Yes.
14 methodologies, various ways of determining how you're 14 Q. So is this the mechanism whereby BDO can do
15 going to sample? 15 _ selective testing and reach conclusions on the entire
16 A. Yes, we do. 16 accounts receivable portfolio?
17 Q. And does this work reflect the way in which 17 A. This is one mechanism that allows you to do
18 the accounts receivable sample was created? 18 _ selective testing, and there's certainly many other
19 A. Yes, it does. 19 mechanisms too.
20 Q. And generally speaking, does the audit team 20 Q. And these steps were all employed in the
21 do this or does somebody else do this? 21 Bankest audits?
22 A. Generally, it's done by the audit team. And 22 A. Yes.
23 if there's a question, then it goes outside the office 23 Q. Mr. Lenner, we were talking about sending
24 for one of the firm specialists to assist with. 24 out confirms. Do you recall that testimony generally?
25 Q. And in the course of these Bankest audits, 25 A. Yes.

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 42 of 45

 

 

35 (Pages 3002 to 3005)
Page 3002 Page 3004 §
1 Q. And is it fair to say that sometimes 1 work paper?
2 companies will not send confirms back? 2 A. A confirmation/control work paper, it's the
3 A. Yes. 3 listing of the confirmations that we sent out on the
4 Q. And in connection with factoring companies, 4 first time. And there's little columns that when a E
5 was it your experience that that was often the case? 5 confirmation comes back, you would put a check mark that E
6 A. Yes, that was my experience. It was the 6 _ it's been received. :
7 experience of PricewaterhouseCoopers -- 7 Q. Now, so is it basically the work papers that
8 MR. THOMAS: Objection, Your Honor. 8 reflect what was sent out and what was received back?
9 THE COURT: Sustained. 9 A. Generally speaking, yes.
10 BY MS. BITAR: 10 Q. And do you Keep copies of the confirmations
11 Q. Was it your experience based on what yousaw $11 _ that are sent in this portion of the work papers?
12 at Bankest and based on your prior experience? 12 A. Yes. Some people keep lists. Some people
13 A. Yes. It's very common for large companies 13 keep copies of the confirmations in lieu of a list. And
14 such as the customers that the E.S. Bankest had that 14 we have both here.
15 they would not confirm the receivables. 15 Q. Okay. And when the confirmation is actually
16 Q. I'd like you to look at BDO 890. 16 sent back and signed, is that part of the C section
17 A. (Complies.) 17 accounts receivable work papers?
18 Q. Do you have that, sir? 18 A. Yes. That's like the two confirmations that
19 _ A. Yes. 19 we saw earlier today.
20 Q. 890. 20 Q. Now, let's just go through these
21 MS. BITAR: It's 404, Glenn. 21 confirmations to get an idea about the type of things
22 (Technician complies.) 22 that are confirmed.
23 BY MS. BITAR: 23 Turning to -- relating to accounts
24 Q. Iknow it's pretty hard to read. 24 receivable. Turning to BDO 232, you see that, sir?
25 A. It certainly is. 25 A. If you can give me the Bates number.
Page 3003 Page 3005 :
1 Q. Maybe your copy is a little better. Can you 1 Q. I'msorry. It's BDO 722.
2 read what this is, Mr. Lenner? Can you identify this 2 A. Yes.
3 work paper? 3 MS. BITAR: And if we can blow that up so
4 A. Yes. This is a response that we received 4 the jury can see it a little better.
5 from JC Penney basically saying that they're unable to 5 (Technician complies.)
6 confirm. And if you look, they were giving the 6 BY MS. BITAR:
7 reason -- that's the first reason up there -- saying, 7 Q. That's a confirmation to JC Penney, right? i
8 "JC Penney cannot verify the balance of the accounts. 8 A. That was the confirmation that we sent to |
9 You can verify the balance by referring to your 9 JC Penney, correct. j
10 remittance statements and the company payments made 10 Q. And we saw the actual returned confirmation :
11 prior to the date of your audit." 11 previously, correct? '
12 So they are basically unable to respond to a 12 A. Yes, we did.
13 _ confirmation request. 13 Q. And who prepares the confirmation? i
14 Q. Mr. Lenner, turning now -- 14 A. The confirmation is prepared by the client, ;
15 MS. BITAR: One moment, please, Judge. 15 then it's returned to BDO, and then we mail it.
16 BY MS. BITAR: 16 Q. And why does the client prepare the ;
17 Q. Let's turn now, Mr. Lenner, to the 17 confirmation? :
18  confirmation/control section of these work papers. Do 18 A. They prepare it because it's a ministerial :
19 you have that, sir? 13 type of a task. It's something that it would not make Fl
20 A. Not yet. All right. I have it. 20 _ sense for us to do it. It's something that's more cost
21 Q. Thank you. Is the confirmation/control 21 _ effective if the client prepares it, then we review it,
22 section an independent section of each year's Bankest 22 and then we mail it out. :
23 work papers? 23 Q. And is it your understanding, sir, that the :
24 A. Yes, it is. 24 amount to confirm is a number that ties to the general
25 Q. And what is a confirmation, slash, control 25 ledger?

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 43 of 45
36 (Pages 3006 to 3009)

 

  
  
  
  
  
  
  
   
  
  
  
   
 
  
  

 

 

   

   
   
 
 
  
  
  
   
  
  
  
  
  
  
  
 
 

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Page 3006 Page 3008 §
1 A. Yes. 1 traditional terms of an invoice, would that have raised
2 Q. And I see that this is a confirm to 2 questions to you?
3 JCPenney, correct? 3 A. Yes. If it doesn't have the terms that we
4 A. Yes. 4 would expect to see, it certainly would raise a
5 Q. And the vendor is Joy. Do you see that, 5 question.
6 sir? 6 Q. Ifit was written on a napkin, would that
7 A. Correct. 7 have raised a question?
8 Q. So that means Joy was the Bankest client and 8 A. Yes.
9 you were confirming to the client's customer, JC Penney, 9 Q. Indeed, a valid invoice has certain
10 correct? 10 information on it, correct?
11 A. That's correct. il A. Yes.
12 Q. And by the way, it says on the top here, 12 Q. Let's look at Exhibit 4492 in evidence.
13 Espirito Santo Bankest, LLC. 13 This is a composite exhibit of a bunch of invoices.
14 A. Yes. 14 MS. BITAR: May I approach, Judge?
15 Q. So is this a client letterhead? 15 THE COURT: You may.
16 A. Yes. 16 MS. BITAR: (Complies.)
17 Q. And Mr. Lenner, in this confirmation/control 17 BY MS. BITAR:
18 section, are there copies of all of the accounts 18 Q. And could you please turn to page 7 of the
19 receivable confirmations that BDO sent? 19 document, 4492-0007. You see that?
20 A. Yes. 20 A. Not yet.
21 Q. And you talked about second requests. Let's 21 Q. Tell me when you get there.
22 go, for example, to the Ames Department Store 22 A. Ihave that invoice in front of me.
23 confirmation which is at BDO 726. 23 MS. BITAR: Get it on the screen.
24 A. Yes. 24 (Technician complies.)
25 Q. Is there another one of those confirmations 25 MS. BITAR: Can you highlight the top of the
Page 3007 Page 3009
1 alittle further back in the confirmation/control 1 invoice, please?
2 section? 2 (Technician complies.)
3 A. Yes. 3 MS. BITAR: Give me a second, Your Honor. I
4 Q. And that's at BDO 745? 4 — don't know what I did with the -- okay.
5 A. That's correct. 5 BY MS. BITAR:
6 MS. BITAR: Can we go to that one, please? 6 Q. Mr. Lenner, an invoice is a contract,
7 (Technician complies.) 7 correct?
8 BYMS. BITAR: 8 MR. THOMAS: Objection, Your Honor. Calls
9 Q. So was it based on review of these work 9 for a legal conclusion.
10 papers that you conclude that second requests were, in 10 THE COURT: Overruled.
11 fact, sent to these customers? 11 BYMS. BITAR:
12 A. This as well as the signature in the audit 12 Q. You may answer.
13 program that documented that the procedure was 13 A. Yes, it is.
14 performed, yes. 14 Q. It has a heading that tells you the name of
15 Q. Now, Mr. Lenner, there's been some testimony 15 the company that issued the invoice, right?
16 about the agreed-to-invoice test, correct? 16 A. Yes.
17 A. Yes. 17 Q. If the invoice was missing a letterhead,
18 Q. And what is the agreed-to-invoice test? 18 would that have raised an issue with you?
19 A. That is where we obtain the invoice. We 19 A. It certainly would.
20 examine the invoice. We inspect it, and we compare it 20 Q. The invoice also has a description of the
21 to the books and records of E.S. Bankest. 21 product sold, correct?
22 Q. When you do that, sir, do you take the 22 A. Yes, it does.
23 invoices at face value? 23 Q. And in this case, this is an invoice showing
24 A. No. 24 to Sam's Club, correct?
25 Q. For example, if an invoice did not have the 25

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 44 of 45

37 (Pages 3010 to 3013)

 

 

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Trees,

Page 3010 .Page 30125
1 Q. And what is being shipped, Mr. Lenner? 1 A. I relied on the information that was in the
2 A. Microfiber pants. 2 imvoice and that it appeared to be a true and accurate
3 Q. And the invoice has the amount owed, 3 document prepared by a third party.
4 correct? 4 Q. You inspected the -- did you inspect the
5 A. Yes, it does, 5 invoice?
6 Q._ And this invoice shows the money owing, does 6 A. Yes.
7 ~~ itnot? 7 Q. Did you touch the invoice?
8 A. Yes. 8 A. Yes.
9 Q. And the invoice has the payment terms, 9 Q. Put that down, sir.
10 correct? 10 Mr. Lenner, I would like you to look at
11 A. Yes, it does. 11 Exhibit 131 in evidence and specifically at page 138.
12 Q. What are the terms of this invoice, sir? 12 MS. BITAR: May I approach, Judge?
13 A. Itsays "Terms net 30" on the top and then 13 THE COURT: You may.
14 "Payment due by 11-13-00." 14 MS. BITAR: (Complies.)
15 Q. So the terms of this invoice is 30 days, 15 BY MS. BITAR:
16 ~—s correct? 16 Q. Now, Mr. Lenner, what is an AU?
17 A. No. The term of this invoice is -- 17 A. That is a prefix for a section, that's the
18 actually, it's 90 days. 18 beginning section. It stands for auditing. Sothis _
19 Q. Where is that on the document? 19 would be in this document AU section 326. If you wanted
20 A. It's on the bottom. 20 to find this, you just look for AU 326.
21 Q. I'm trying to find it myself. 21 Q. And is this audit literature you considered
22 A. It's net 90 in the top. It's due 11-13. 22 when conducting the Bankest audit?
23 That's on the bottom. And on the top it says net 90. 23 A. Yes.
24 Q. And that's over here, correct? 24 Q. Mr. Lenner, the first -- the section 01 of
25 A. Yes. 25 this standard says that "The third standard of field
Page 3011 Page 3013
1 Q. And that means the payment is due in 1 _ work is sufficient, competent evidential matter is to be
2 90 days, right? 2 __ obtained through inspection, observation, inquiries, and
3 A. Yes. 3 _ confirmations to afford a reasonable basis for an
4 Q. Does this invoice have all the terms you'd 4 opinion regarding the financial statements of an audit."
5 expect? 5 You see that, sir?
6 A. Yes, it does. 6 A. Yes.
7 Q. Does it look real? 7 Q. And you recognize this rule, sir?
8 A. Yes. 8 A. Very much so.
9 Q. Deo you have any reason to believe that it's 9 Q. What is evidential matter?
10 = fake? 10 A. Evidential matter is basically any
i1 A. None. 11 imformation that's in the hands of the client, any
12 Q. And what you've just done is inspect the 12 accounting records, anything that corroborates or
13 invoice, correct? 13 anything that supports the assertion or supports a
14 A. That's correct. 14 number that's in the financial statements. That's
15 Q. It has all the terms you'd expect, right? 15 really what evidential matter is. That's something we
16 A. Yes. 16 then have to audit it. But evidential matter on its
17 Q. It's not on a napkin? 17 face is documents in the client's possession that are
18 A. No. 18 given to the auditor so he or she can conduct their
19 Q. In conducting the agreed-to-invoice test, 19 audit.
20 you relied upon the face of the invoice, right? 20 Q. And in determining about whether an invoice
21 MR. THOMAS: Objection. Leading, Your 21 actually exists, is evidential matter important?
22 Honor. 22 A. Yes, it is. It's very important.
23 THE COURT: Sustained. 23 Q. When you conducted the Bankest audits, did
24 BY MS. BITAR: 24 you believe that the invoices themselves constituted
25 Q. Did you rely -- what did you rely on? 25 evidential matter?

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Case 06-01220-AJC Doc 230-13 Filed 09/16/08 Page 45 of 45

38 (Pages 3014 to 3017)

 

Page 3014

   
     
 
  
  
  
  
   
  
  
  
   
 
  
  

Page 3016 A

 

1 A. Yes. 1 Q. Did you consider the evidence competent at
2 Q. And did you consider section 01 which states 2 “the time?
3 _ that sufficient, competent evidential matter is to 3 A. Yes.
4 obtained through inspection? 4 Q. Now, subsection B of the standard discusses
5 A. Yes. 5 internal controls. And it says, The more effective the
6 Q. Did you believe that reviewing the invoices 6 internal control, the more assurance it provides about
7 constituted competent evidence upon which you could 7 the reliability of the accounting data and financial
8 rely? 8 statements."
9 A. Yes, it's the first example right here. 9 Did I read that correctly?
10 MR. THOMAS: Objection, Your Honor. 10 A. Yes.
11 THE COURT: Overruled. 11 Q. And section C speaks to ''The independent
12 BYMS. BITAR: 12 auditor's direct personal knowledge obtained through
13 Q. You may answer, sir. 13 physical examination, observation, computation, and
14 A. Yes, it's the first item here. Inspection. 14 inspection and is deemed more persuasive than
15 That's what we did. 15 information obtained indirectly."
16 Q. And is an invoice a contractual obligation 16 Did I read that right?
17 ‘to pay? 17 A. Yes.
18 MR. THOMAS: Objection, Your Honor. 18 Q. Did you consider your team's physical
19 THE COURT: Overruled. 19 examination and inspection of invoices to fall within
20 THE WITNESS: Yes, it is. 20 this provision?
21 BYMS.BITAR: 21 MR. THOMAS: Objection, Your Honor.
22 Q. Nov, let's turn to section .21 in this 22 THE COURT: Sustained.
23 standard. That's on page 140. 23 BY MS.BITAR:
24 Mr. Lenner, do you recognize this standard? 24 Q. Did you consider this provision when
25 A. Yes. 25 conducting the Bankest audits?
Page 3015 Page 3017]
1 Q. And is this the standard that says evidence 1 A. Yes.
2 is presumed competent? 2 Q. Did you conclude at this time that
3 A. Yes. 3 imspecting the invoices provided competent evidence of
4 Q. And is evidential matter one of the core 4 existence?
5 concepts in auditing? 5 A. Very much so.
6 A. Yes. 6 Q. This case is all about hindsight, isn't it?
7 Q. And did you consider this portion of the 7 MR. THOMAS: Objection, Your Honor.
8 standard when conducting your audits of Bankest? 8 THE COURT: Sustained.
9 A. Yes, I considered this portion. 9 BY MS. BITAR:
10 Q. And this portion of the standard discusses 10 Q. Did you have any reason to believe in 1998
11 the various types of evidence that constitute good 11 through 2002 that those invoices inspected by your audit
12 evidence, correct? 12 team or you were fake?
13 MR. THOMAS: Objection, Your Honor. Leading 13 A. No.
14 as well as — 14 THE COURT: Are you going into a new area?
15 THE COURT: Sustained. 15 MS. BITAR: Yes, Your Honor.
16 BY MS. BITAR: 16 THE COURT: Why don't we break for the day. ei
17 Q. Did you consider whether receiving evidence 17 ~~ Let me get my bailiff down here. ;
18 from an independent source provides greater assurance 18 Allright. Ladies and gentlemen, you're not ;
19 for purposes of developing competent evidential material {19 to discuss the case among yourselves or with anyone ;
20 from which you can render an opinion? 20 else. Do not allow anyone to discuss the case with you. :
21 A. Yes, I considered that. 21 You're not to form a definite or fixed opinion about i
22 THE COURT: It's a yes or no. 22 this case until you've heard all the evidence, the ;
23 THE WITNESS: I'm sorry. Yes. 23 argument by the lawyers, the instructions on the law by :
24 THE COURT: Next question. 24 me. You're not to see, hear, or read any accounts of i
25 BY MS. BITAR: 25 r
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